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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
 ________________________________________________
 CAMILE SIANO ENDERS,

                                                    Plaintiff,

                         -against-
                                                                        19-CV-00948
                                                                         (BKS/CMF)
 JERRY BOONE, et al.


                                                 Defendants.


         DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR
                  MOTION FOR SUMMARY JUDGMENT


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                                PRELIMINARY STATEMENT

       “There is not enough time in my day to keep a record of the unethical conduct I observe”

Camile Siano Enders (“Plaintiff”) engage in. Neri Decl.; Neri Decl. Exh. G. An eyewitness

conveyed those words—continuing, “it never stops,”—to the Ethics Officer at the New York State

Department of Taxation and Finance (“DTF”). Neri Decl. Exh. G. The Ethics Officer sent that

quote to DTF’s Office of Internal Affairs (“OIA”), along with seven pages of notes the eyewitness

typed detailing Plaintiff’s incessant discussion of her campaign while at DTF, as well as Plaintiff’s

campaign-related absences from DTF. Neri Decl.; Rivers Decl. Exh. A. The OIA conducted an

investigation, which included sworn statements from multiple witnesses, a review of documents,

and synthesis of the evidence. Gullie Decl. The OIA then briefed the Executive Deputy

Commissioner on the findings of the investigation. Manion Decl. Based upon the findings of the

OIA investigation—the second formal investigation in less than a year to conclude Plaintiff had

abused DTF resources—the Executive Deputy Commissioner decided to terminate Plaintiff for

cause. Manion Decl.

       The DTF terminated Plaintiff from her position as Deputy Commissioner on August 24,

2016. Dkt. 1 at ¶15. Plaintiff initiated this action by filing a complaint on August 2, 2019 alleging

a single cause of action: a Section 1983 First Amendment retaliation claim. Dkt. 1 at 4–5. Plaintiff

sued the Executive Deputy Commissioner who fired her, the Human Resources official who

assisted with the termination, and the Commissioner who approved the termination. Dkt. 1 at ¶¶2,

4, 6, 16–19. Plaintiff did not sue the eyewitness, anyone from OIA, the Ethics Officer, or DTF.

See dkt. 1. The parties engaged in discovery. See Reiner Decl. Defendants now move for

summary judgment.




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                                   STATEMENT OF FACTS

A.     Background and Parties

       Plaintiff served as a Deputy Commissioner at DTF from January 2013 to August 2016.

Reiner Decl., Exh. A (“Dep. of Pl.”) at 18. As a Deputy Commissioner, Plaintiff was an “exempt

class employee” at DTF. Starr Decl. As an exempt class employee, Plaintiff served at the pleasure

of the Administration, and her services could have been terminated at any time by the discretion

of the Administration. Starr Decl. From January 2013 to March 2016, Plaintiff also held a “hold

item” title. Starr Decl. A hold item is a competitive class position allocated to the employee while

she serves in the exempt position. Starr Decl. The employee takes “discretionary leave” from the

hold item while serving in the exempt class position. Starr Decl. Although the hold item sits

vacant while the employee serves in the exempt class position, the agency still must budget for the

hold item. Starr Decl. The granting of hold items is entirely at the discretion of the appointing

authority. Starr Decl. The granting of discretionary leave from hold items—for a period of up to

two years—is entirely in the discretion of the appointing authority. Starr Decl.

       Plaintiff’s discretionary leave from her hold item expired in March 2016. Boone Decl.

After the expiration of her discretionary leave from her hold item in March 2016, Plaintiff

continued to work at DTF only as an exempt class employee. Starr Decl.

       DTF terminated Plaintiff’s employment on August 24, 2016. Dkt. 1 at ¶15 (admitted by

dkt. 17 at ¶15). Plaintiff re-joined the public payroll at the Schenectady County Public Defender’s

Office within six months of her termination from DTF. Dep. of Pl. at 16. Plaintiff currently serves

as Deputy Chief Assistant Public Defender. Dep. of Pl. at 16.

       Defendant Jerry Boone served as the Commissioner of DTF from 2015 to 2016, and he

retired from DTF in 2016. Boone Decl. Defendant Honora Manion served as Executive Deputy

Commissioner of DTF in 2015 and 2016, and she retired from DTF in March 2019. Manion Decl.
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Defendant Mary Starr served as Assistant Director of Human Resources (“HR”) at DTF in 2015

and 2016, and she retired from DTF in December 2018. Starr Decl.

B.     The First Investigation Into Plaintiff’s Misuse Of State Resources

       In 2015, Plaintiff ran an unsuccessful campaign for re-election as a part-time Judge in the

Duanesburg Town Court (“the 2015 Campaign”). Boone Decl. When Plaintiff requested approval

from DTF to conduct the 2015 Campaign, she received approval to conduct the campaign outside

of work hours. Boone Decl.

       The New York State Inspector General (“IG”) investigated Plaintiff for improperly

conducting the 2015 Campaign on DTF time. 1 Boone Decl.; Boone Decl. Exh. A. The IG

informed Defendant Boone that multiple witnesses observed Plaintiff placing and receiving calls—

during the workday at DTF—pertaining to outside employment as a Town Judge and the 2015

Campaign. Boone Decl.; Boone Decl. Exh. A. The IG indicated that Plaintiff’s cell phone records

reflect that Plaintiff made 33 hours of calls related to the 2015 Campaign and/or work as a Town

Judge during a 30-week period. Boone Decl.; Boone Decl. Exh. B. The IG further indicated that

Plaintiff’s cell phone records confirmed that Plaintiff made 24 hours of calls related to the 2015

Campaign and/or work as a Town Judge during a one-month period. Boone Decl.; Boone Decl.

Exh. B.

       The IG did not make a recommendation as to how to proceed as to Plaintiff’s misconduct

because Plaintiff lost the 2015 campaign. Boone Decl.; Boone Decl. Exh. B. Based upon the IG’s

findings that Plaintiff used DTF time to conduct outside work on DTF time, Defendant Boone

exercised his discretion not to renew Plaintiff’s discretionary leave from her hold item when it was




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       The IG is independent of DTF and conducts oversight of all State executive agencies. See
N.Y. Exec. L. §52.
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set to expire in March of 2016. Boone Decl.; Dep. of Pl. at 114. Plaintiff “felt that [non-renewal

of the hold item] was punishment.” Dep. of Pl. 115. However, Defendant Boone indicated to

Plaintiff that they could revisit the possibility of a hold item in the future. Boone Decl.

C.     Plaintiff Requests And Receives Approval To Conduct A Second Political
       Campaign—With The Express Limitation That She Not Campaign At DTF Or On
       DTF Time

       On March 28, 2016, Plaintiff requested permission from DTF to conduct a campaign for

New York State Supreme Court (“the 2016 Campaign”). Neri Decl.; Neri Decl. Exh. A. Plaintiff’s

request to DTF to conduct the 2016 Campaign specifically mentioned ethics advisory opinion 98-

12. Neri Decl. Exh. A. Advisory Opinion 98-12 indicates that employees cannot conduct

“campaign activities from a State office.” Neri Decl. Exh. D at 5. It also indicates employees

cannot campaign “during State business hours unless leave is taken.” Neri Decl. Exh. D at 5.

       DTF approved Plaintiff’s request to conduct the 2016 Campaign, subject to specific

restrictions. Neri Decl. Exh. A. Those restrictions included: (i) “All activities must be done on

the employee’s own time”; (ii) “No State resources of any type may be used to accomplish your

outside activity”; and (iii) a “Reminder: Civil Service Law section 107 prohibits any and all

political activity in the workplace.” Neri Decl. Exh. A. A state employee’s time during the

workday is a state resource. Neri Decl.

       On April 1, 2016, Defendant Boone and Deputy Commissioner and Ethics Official

Margaret Neri met with Plaintiff to discuss the restrictions on her activity. Neri Decl. At that

meeting, Defendant Boone expressed concern that the campaign would interfere with Plaintiff’s

duties as Deputy Commissioner at DTF. Neri Decl. Defendant Boone asked Plaintiff to be mindful

of the fact that she would be highly visible both within DTF and to the public at large, and he

reminded Plaintiff that there is increased scrutiny of state employees engaging in political activity.



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Neri Decl. Plaintiff indicated to Defendant Boone that she could conduct the campaign entirely

outside of DTF hours. Neri Decl.

       On April 5, 2016, Deputy Commissioner Neri sent an e-mail to Plaintiff, with Defendant

Boone cc’d, recapping the April 1, 2016 meeting. Neri Decl; Neri Decl. Exh. C. In that e-mail,

Deputy Commissioner Neri quoted State Ethics Commission Advisory Opinion 93-9 to Plaintiff:

“‘One area of particular concern for those seeking elected office is the abuse of State time and

resources. . . . The law requires that the campaigns be run on an employee’s own time. No state

resources of any type, including . . . support staff assistance can be used in the furtherance of the

campaign.’” Neri Decl; Neri Decl. Exh. C.

       In March of 2016, Plaintiff also requested permission from the Joint Commission on Public

Ethics (“JCOPE”) to conduct the 2016 Campaign. Neri Decl. JCOPE approved Plaintiff’s request

to conduct the 2016 Campaign. Neri Decl.; Neri Decl. Exh. B. JCOPE’s approval letter to Plaintiff

specifically mentioned advisory opinion 98-12, the same advisory opinion Plaintiff referenced in

her request to DTF. Neri Decl. Exh. A; Neri Decl. Exh. B. JCOPE’s approval letter also indicated

that Plaintiff may not use any State resources, including “computers or support staff.” Neri Decl.

Exh. B. JCOPE’s approval letter continued: the “law also prohibits the use of one’s official State

position to coerce, intimidate, or otherwise influence State employees to give money or service or

any valuable thing for any political purpose or influence the political action of any person.” Neri

Decl. Exh. B.

D.     Plaintiff Conducts The 2016 Campaign, In Part, At DTF And On DTF Time

       In early April 2016, Margaret Neri—DTF’s Ethics Officer and a Deputy Commissioner—

asked Lynn Rivers—Plaintiff’s administrative assistant who reported directly to Plaintiff—to keep

track of Plaintiff’s campaign activities while at DTF. Neri Decl; Rivers Decl. No Defendant asked



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Deputy Commissioner Neri to get Ms. Rivers to provide information about Plaintiff, and no

Defendant was present when Deputy Commissioner Neri asked Ms. Rivers to provide information

about Plaintiff. Neri Decl.; Rivers Decl. Rather, Deputy Commissioner Neri made the request of

Ms. Rivers on her own volition, and in her capacity as Ethics Officer, based upon her own concerns

that Plaintiff was flouting the ethical restrictions placed on her. Neri Decl. Ms. Rivers complied

with Deputy Commissioner Neri’s request and kept contemporaneous notes of what she observed.

Rivers Decl.

       On June 2, 2016, an attorney from DTF’s Office of Counsel forwarded Deputy

Commissioner Neri a campaign e-mail that Plaintiff’s campaign had sent to the attorney’s DTF e-

mail address. Neri Decl.; Neri Decl. Exh. E. In turn, Deputy Commissioner Neri forwarded the

e-mail to the Director of DTF’s Office of Internal Affairs (“OIA”). Neri Decl.; Neri Decl. Exh. E.

Deputy Commissioner Neri also sent an e-mail to Plaintiff to inquire why she was sending political

e-mails to State e-mail addresses. Neri Decl.; Neri Decl. Exh. F. Plaintiff responded to Deputy

Commissioner Neri’s e-mail by speculating that her campaign sent an e-mail to a bar association

and that “[m]aybe some members use their state agency email addresses for [the] women’s bar

association membership.” Neri Decl.; Neri Decl. Exh. F.

       In further response to the inappropriate e-mail, Defendant Manion reminded Plaintiff that

she needed to be more cautious about the use of State time and resources—including use of work

time and DTF e-mail—and that even the appearance of not following the rules was a problem.

Manion Decl.




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E.     The Second Investigation Into Plaintiff’s Misuse Of State Resources Reveals Plaintiff
       Conducted Campaign Activities At DTF’s Office And Pressured Multiple
       Subordinates To Donate To Her Campaign.

       After discussing the e-mail with Plaintiff, Defendant Manion heard that Plaintiff had been

discussing the campaign at DTF with DTF workers, including Deputy Commissioner Richard

Ernst; and had been making campaign-related calls while at DTF. Manion Decl. At this time,

Defendant Manion was already aware that the IG previously determined that Plaintiff had abused

state time and resources. Manion Decl. Defendant Manion therefore referred the matter to OIA

to investigate. Manion Decl.

       Part of OIA’s investigation gathered evidence from Administrative Assistant Lynn Rivers.

Gullie Decl.; Gullie Decl. Exhs. B and C; River Decl.; Rivers Decl. Exh. B. During the spring and

summer of 2016, Ms. Rivers’ desk was right outside of Plaintiff’s office. Rivers Decl. In an

affidavit to OIA, Ms. Rivers provided numerous examples of Plaintiff discussing her political

campaign while at DTF with Deputy Commissioner Ernst. Rivers Decl.; Rivers Decl. Exh. A;

Rivers Decl. Exh. B. Further, Ms. Rivers informed OIA of multiple examples of Plaintiff

discussing her political campaign while on the phone at DTF. Rivers Decl.; Rivers Decl. Exh. B.

For example—although Defendant Manion had recently reminded Plaintiff about the importance

of avoiding even the appearance of not following the rules—on June 13, 2016, Plaintiff discussed

upcoming political events with the staff of the Bureau of Conciliation and Mediation Services

(“BCMS”) while at the DTF office. Rivers Decl.; Rivers Decl. Exh. B. As Plaintiff then served

as both Deputy Commissioner and Director of BCMS, Plaintiff supervised all of those employees

present for her discussion of the upcoming political events. Dep. of Pl. at 19. At various other

times at the DTF office, Plaintiff also provided Ms. Rivers with an emery board promoting her




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campaign and campaign literature, and Plaintiff asked Ms. Rivers to review headshots for her

political campaign. Rivers Decl.

       On one occasion in the spring or summer of 2016, Plaintiff asked Ms. Rivers for her home

address, and Ms. Rivers felt obligated to acquiesce because Plaintiff was her supervisor. Rivers

Decl. After extracting the home address from Ms. Rivers, Plaintiff sent her subordinate an

invitation for a fundraiser for her campaign. Rivers Decl.; Rivers Decl. Exh. C. Advisory Opinion

98-12—which Plaintiff cited in her request to DTF to conduct the 2016 campaign—reads, in

pertinent part, that “no State employee may solicit from subordinates, as this practice is strictly

forbidden by Civil Service Law § 107.” Neri Decl. Exh. D at 5.

       OIA compared Ms. Rivers’ affidavit and notes detailing when Plaintiff was out of the office

with the timesheets that Plaintiff certified. Gullie Decl.; Gullie Decl. Exh. D. This comparison

revealed that Plaintiff did not always charge appropriate leaves when (i) out of the office for

political events or (ii) when conducting non-DTF business while physically present at DTF. Gullie

Decl. DTF therefore paid Plaintiff without reducing her leave time, and Plaintiff effectively stole

the value of her leave time that she should have been charged. Gullie Decl.

       The OIA investigation gathered evidence from Lisa Surprenant, another Administrative

Assistant who worked directly for Plaintiff. Gullie Decl.; Gullie Decl. Exh E; Surprenant Decl.;

Surprenant Decl. Exh. A. On multiple occasions in the spring and summer of 2016, Plaintiff

stopped by Ms. Surprenant’s desk at DTF to discuss her political campaign. Surprenant Decl. On

one of those occasions, Plaintiff asked Ms. Surprenant if Ms. Surprenant’s husband had friended

the Facebook account of her political campaign. Surprenant Decl.; Surprenant Decl. Exh. A.

       On July 13, 2016, while Ms. Surprenant was at work at DTF, Plaintiff asked her if she

received an invitation to her fundraiser for her political campaign—which was held on July 12,



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2016—and Plaintiff became very upset when Ms. Surprenant said no.              Surprenant Decl.;

Surprenant Decl. Exh. A. This interaction made Ms. Surprenant uncomfortable. Surprenant Decl.

The very next day, Deputy Commissioner Richard Ernst—the executive with whom Plaintiff

incessantly discussed her campaign while at the office, as per Ms. Rivers—stopped at Ms.

Surprenant’s desk and asked if Ms. Surprenant needed the address to Plaintiff’s campaign.

Surprenant Decl.; Surprenant Decl. Exh. A; Rivers Decl. Ms. Surprenant clearly indicated that

she did not want to participate or contribute to the campaign. Surprenant Decl.; Surprenant Decl.

Exh. A. The pressure from Plaintiff and Ernst—both of whom were Deputy Commissioners—on

consecutive days to contribute financially to Plaintiff’s campaign made Ms. Surprenant

uncomfortable. Surprenant Decl. On July 14, 2016, Ms. Surprenant wrote a sworn affidavit for

the OIA investigation detailing her interactions with Plaintiff and Deputy Commissioner Ernst.

Surprenant Decl.; Surprenant Decl. Exh. A. And although Ms. Surprenant told both Plaintiff and

Deputy Commissioner Ernst that she had no interest in funding Plaintiff’s campaign, Ms.

Surprenant received an invitation for a fundraiser for Plaintiff at her home address. Surprenant

Decl.; Surprenant Decl. Exh. B.

       On August 4, 2016, Ms. Rivers provided Deputy Commissioner Neri with typed notes

about Plaintiff’s conduct. Neri Decl.; Neri Decl. Exh. G. When handing Deputy Commissioner

Neri the notes, Ms. Rivers commented, “There is not enough time in my day to keep a record of

the unethical conduct I observe in my particular location. Richard [Ernst] and [Plaintiff] discuss

the campaign frequently throughout the day. It never stops.” Neri Decl.; Neri Decl. Exh. G.

Deputy Commissioner Neri forwarded a scanned copy of the written notes to Michele Somelofske,

an Investigator with OIA. Neri Decl. The e-mail in which Deputy Commissioner Neri sent the

notes to OIA also included Ms. Rivers’ comment about the breadth of Plaintiff’s unethical conduct



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in the workplace. Neri Decl. Exh. G. OIA concluded that Plaintiff conducted her political

campaign, in part, physically at DTF and on DTF time. Gullie Decl.

       As of the date of Plaintiff’s deposition—April 8, 2022—Plaintiff had no knowledge that

she had been investigated by OIA or the content of that investigation. Dep. of Pl. at 111.

F.     DTF Terminates Plaintiff

       OIA briefed Defendant Manion on the results of the investigation. Manion Decl. During

that briefing, Defendant Manion learned that the investigation revealed evidence that Plaintiff had,

in fact, violated the restrictions about not using DTF time and resources to conduct the campaign.

Manion Decl. Based on that briefing of investigative findings, Defendant Manion determined that

Plaintiff should be terminated for cause because she violated the restrictions placed on her by the

Commissioner of DTF and JCOPE. Manion Decl. Defendant Manion made that decision, in part,

because the OIA determination constituted the second time in less than a year an investigative

agency found Plaintiff misused DTF time and resources to conduct outside activity. 2 Manion Decl.

Defendant Manion informed Defendant Starr that Plaintiff would be terminated for inappropriate

use of DTF resources during a political campaign. Starr Decl.; Manion Decl. Defendant Starr

drafted a termination letter, which Defendant Manion edited by adding “for cause.” Starr Decl.

       Defendant Boone was on medical leave at the time Plaintiff was terminated and did not

make the decision to terminate Plaintiff. Boone Decl. When Defendant Manion informed

Defendant Boone that she planned on terminating Plaintiff, Defendant Boone agreed with that

course of action. Boone Decl.; Manion Decl.

       On August 24, 2016, Defendant Manion informed Plaintiff she was terminated for cause.

Manion Decl. Defendant Starr was present when Defendant Manion terminated Plaintiff. Manion



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           Richard Ernst did not have a similar history of ethical infractions. Manion Decl.
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Decl. Plaintiff understood that her employment was at-will because she was an exempt class

employee. Manion Decl. Defendant Manion did not provide Plaintiff any details about the cause

at that time. Manion Decl.

       Plaintiff subsequently began telling people, falsely, that she was terminated for political

reasons. Manion Decl. The New York State Executive Chamber urged Defendant Manion to

speak with Plaintiff to provide additional details about her termination. Manion Decl. On or about

September 2, 2016, Defendant Manion conducted a call with Plaintiff, with Defendant Starr in the

room as a witness. Manion Decl. In that call, Plaintiff asked whether her termination had anything

to do with Plaintiff’s campaign for Supreme Court. Manion Decl. Defendant Manion responded,

in sum and substance, that the termination occurred because Plaintiff conducted campaign activity

at DTF. Manion Decl.

G.     In Discovery, Plaintiff Fails To Provide Any Basis To Support Her Claim

       Plaintiff’s only allegation of retaliation in the complaint is that the Defendants “terminated

Plaintiff for participating in the Judicial Campaign.” Dkt. 1 at ¶21. When given an interrogatory

to expound on paragraph 21 of the complaint, Plaintiff wrote,

       The Basis for the allegation in Paragraph 21 of the complaint: On August 24, 2016,
       Ms. Manion and Mary Starr called Plaintiff into her office and told her she was
       being fired for cause because of her campaign. . . . In a telephone call from Ms.
       Manion and Mary Starr on or about September 2, 2016 to Plaintiff, Nonie stated
       that Plaintiff was fired for cause for failing to follow direct orders not to engage in
       campaign activities in the workplace. . . . She further stated it was not about calls
       but the appearance and ‘discussion all over the place.’. . . Based upon the general
       reference to Plaintiff’s campaign, with no finding of wrong doing [sic], indicates
       that Plaintiff was fired merely because she had a campaign.

Reiner Decl., Exh. B (“Pl’s Interrogatory Answer”).

       When Plaintiff was asked at her subsequent deposition “what actions did [Defendant

Boone] take that were retaliatory to your knowledge,” Plaintiff testified “I don’t know exactly.”



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Dep. of Pl. at 46. When Plaintiff was asked what Defendant Manion beyond the mere act of

termination, Plaintiff testified “I don’t recall.” 3 Dep. of Pl. at 50–51. When Plaintiff was asked at

her deposition “what did [Defendant Starr] do that was retaliatory,” Plaintiff testified “She was

present when I was terminated by Nonie Manion. I don’t know what else she would have done. I

don’t know the rest.” Dep. of Pl. at 55. When asked whether she knew how “Defendant Starr was

involved in the decision to terminate you,” Plaintiff testified “no.” Dep. of Pl. at 56. When asked

whether she spoke with Defendant Starr after leaving DTF on August 24, 2016, Plaintiff testified

“I don’t recall.” Dep. of Pl. at 44.

       To date, Plaintiff has not identified any speech beyond “participating in a campaign” she

believes led to her termination.

                                       LEGAL STANDARD

       Pursuant to Rule 56, summary judgment is appropriate if there is no genuine issue as to

any material fact and the movant is entitled to judgment as a matter of law. See Fed. R. Civ. P.

56(a); Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). A fact is “material” for purposes of this

inquiry if it “might affect the outcome of the suit under the governing law . . . Factual disputes that

are irrelevant or unnecessary will not be counted.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

248 (1986). A dispute of fact is “genuine” if “the [record] evidence is such that a reasonable jury

could return a verdict for the non-moving party.” Id.

       The movant bears the initial burden of demonstrating that there is no genuine issue of

material fact. See Celotex, 477 U.S. at 323. If this initial burden is met, the opposing party must

show that there is a material dispute of fact for trial. See Fed. R. Civ. P. 56(e); Celotex, 477 U.S.



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         Plaintiff—an executive attorney in a public litigation office who has been pressing this
case for nearly six years—testified that she could not recall answers to more than 80 questions at
her deposition. Dep. of Pl.
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at 324. Furthermore, “[w]hen the burden of proof at trial would fall on the nonmoving party, it

ordinarily is sufficient for the movant to point to a lack of evidence to go to the trier of fact on an

essential element of the nonmovant’s claim.” Cordiano v. Metacon Gun Club, Inc., 575 F.3d 199,

204 (2d Cir. 2009) (citing Celotex, 477 U.S. at 322–23).

       Although the evidence and reasonable inferences should be construed in favor of the non-

movant, the non-movant must nonetheless “do more than simply show that there is some

metaphysical doubt as to the material facts.” Matushita Elec. Indus. Co., Ltd. v. Zenith Radio

Corp., 475 U.S. 574, 585-86 (1986). To defeat a motion for summary judgment, the non-movant

must point to specific evidence showing a genuine issue for trial. See Salahuddin v. Goord, 467

F.3d 263, 273 (2d Cir. 2006). “Conclusory allegations, conjecture and speculation . . . are

insufficient to create a genuine issue of fact.” Kerzer v. Kingly Mfg., 156 F.3d 396, 400 (2d Cir.

1998) (citation omitted); Yennard v. Boces, 353 F. Supp. 3d 194 (N.D.N.Y. 2019).

       While “a court is ordinarily obligated to afford a special solicitude to pro se litigants, . . . a

lawyer representing himself ordinarily receives no such solicitude at all.” Tracy v. Freshwater,

623 F.3d 90, 101–02 (2d Cir. 2010). That being said, even when a party without legal experience

proceeds pro se, her bald assertion, unsupported by evidence, is not sufficient to overcome a

motion for summary judgment. Cucuta v. New York City, 25 F. Supp. 3d 400, 409 (S.D.N.Y.

2014); Roseboro v. Gillespie, 791 F. Supp. 2d 353, 364 (S.D.N.Y. 2011); see Carey v. Crescenzi,

923 F.2d 18, 21 (2d Cir. 1991).

                                           ARGUMENT

       “The First Amendment generally prohibits government officials from dismissing or

demoting an employee because of the employee’s engagement in constitutionally protected

political activity.” Heffernan v. City of Paterson, 578 U.S. 266, 268 (2016). In order to establish

a First Amendment retaliation claim under Section 1983, a public employee such as Plaintiff must
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demonstrate that: “(1) his or her speech was constitutionally protected; (2) he or she suffered an

adverse employment action; and (3) a causal connection exists between the speech and the adverse

employment action.” Washington v. Cnty. of Rockland, 373 F.3d 310, 320 (2d Cir. 2004); accord.

Cotarelo v. Village of Sleepy Hollow Police Dep’t, 460 F.2d 247, 251 (2d Cir. 2006). The evidence

in this matter forecloses the possibility that Plaintiff can meet the first and third elements, engaging

in constitutionally protected speech and a causal connection between the speech and termination.

Accordingly, the Court should grant summary judgment to all Defendants.

I.      The Evidence Demonstrates That Plaintiff Did Not Engage In Protected Speech.

        “To be protected, the speech must be on a matter of public concern, and the employee’s

interest in expressing herself on this matter must not be outweighed by any injury the speech could

cause to ‘the interest of the state, as an employer, in promoting the efficiency of the public services

it performs through its employees.’” Waters v. Churchill, 511 U.S. 661, 668 (1994) (quoting

Connick v. Myers, 461 U.S. 138, 142 [1983]). Speech is considered to deal with matters of public

concern “when it can be fairly considered as relating to any matter of political, social, or other

concern to the community, or when it is a subject of legitimate news interest; that is, a subject of

general interest and of value and concern to the public.” Snyder v. Phelps, 562 U.S. 443, 453

(2011) (internal quotation marks omitted). By contrast, speech that “primarily concerns an issue

that is personal in nature and generally related to [the speaker’s] own situation, such as his or her

assignments, promotion, or salary, does not address matters of public concern.” Jackler v. Byrne,

658 F.3d 225, 236 (2d Cir. 2011) (internal quotation marks omitted); see also Ezekwo v. N.Y.C.

Health & Hosps. Corp., 940 F.2d 775, 781 (2d Cir. 1991) (upholding the dismissal of a medical

resident’s First Amendment claim involving complaints about aspects of residency program that

negatively affected her because those complaints were “personal in nature and generally related to



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her own situation”). Among the relevant considerations in deciding if speech addresses a matter

of public concern “is whether the speech was calculated to redress personal grievances or whether

it had a broader public purpose.” Singer v. Ferro, 711 F.3d 334, 339 (2d Cir. 2013).

       The “State has interests as an employer in regulating the speech of its employees that differ

significantly from those it possesses in connection with regulation of the speech of the citizenry in

general.” Pickering v. Bd. of Educ., 391 U.S. 563, 568 (1968). A “citizen, upon entering

government service, by necessity must accept certain limitations on his or her freedom.” Jackler

v. Burns, 658 F.3d 225, 234 (2d Cir. 2011); see also Singer, 711 F.3d at 339 (explaining that

“public employment does substantially curtail the right to speak freely in a government

workplace”). The government can create restraints on the “speech of public employees that would

be plainly unconstitutional if applied to the public at large.” United States v. Nat’l Treasury

Employees’ Union, 513 U.S. 454, 465 (1995). For example, “political campaigning on the part of

[government] employees may constitutionally be prohibited.” United States Civ. Serv. Comm’n v.

Nat’l Ass’n of Letter Carriers, 413 U.S. 548, 567 (1973); see also Broadrick v. Oklahoma, 413

U.S. 601 (1973) (applying Letter Carriers to a state’s restriction on political activities by state

employees).

       Here, Plaintiff alleges that she was terminated for broadly participating in a judicial

campaign. Dkt. 1 at ¶21. The evidence, however, demonstrates DTF permitted Plaintiff to conduct

a campaign in 2016, just like it did in 2015. Neri Decl. The restriction DTF imposed upon

Plaintiff—and which Plaintiff violated, leading to her termination—was far narrower than what

Plaintiff pleaded: campaigning in the workplace using state resources. Neri Decl.; Neri Decl.

Exhs. A & B. The conduct which the evidence demonstrates led to Plaintiff’s termination is not

constitutionally protected: “Even something as close to the core of the First Amendment as



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participation in political campaigns may be prohibited to government employees.” Waters, 511

U.S. at 672. There is no evidence whatsoever that any Defendant took action against Plaintiff for

campaigning outside of the workplace while not on government time—even though such action

would be constitutional. Rather, all of the evidence shows that Defendant Manion terminated

Plaintiff’s at-will employment for violating orders not to campaign in a state workplace using state

resources. Manion Decl.; Neri Decl.; Gullie Decl.; Starr Decl.; see also Dep. of Pl. (Defendant

Manion called “to let me know that I was fired for cause, for failure to follow direct orders not to

engage in campaign activities in the workplace”); Pl’s Interrogatory Answer (“In a telephone call

from Ms. Manion and Mary Starr on or about September 2, 2016 to Plaintiff, Nonie stated that

Plaintiff was fired for cause for failing to follow direct orders not to engage in campaign activities

in the workplace”) (emphasis added). Accordingly, the Court should grant summary judgment

because Plaintiff has failed to provide evidence that she engaged in constitutionally protected

speech. See Letter Carriers, 413 U.S. at 567; Cordiano, 575 F.3d at 204 (affirming summary

judgment where the moving party established an absence of proof to go to the trier of fact).

II.     The Evidence Demonstrates That Defendant Manion Terminated Plaintiff For
        Violating Directives To Abstain From Campaigning At DTF And/Or Using DTF
        Resources, Not Engaging In Protected Activity.

        Even assuming Plaintiff’s evidence established a prima facie case—and it does not—the

burden would then shift to Defendants “to offer some legitimate, non-retaliatory rationale for

[their] actions.” Dillon v. Suffolk Cnty. Dep’t of Health Svcs., 917 F.Supp.2d 196, 204 (E.D.N.Y.

2013); see Blum v. Schlegel, 18 F.3d 1005, 1010 (2d Cir. 1994) (after a plaintiff makes the initial

showing, “the defendant has the opportunity to demonstrate by a preponderance of the evidence it

would have taken the same adverse employment action even in the absence of the protected

conduct”). Even where the evidence establishes a Defendant’s action was motivated by both



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proper and retaliatory motives, claims of pretext are irrelevant. Deep v. Coin, 453 F. App’x 49,

55 (2d Cir. 2011); see Mount Healthy City School Dist. Bd. of Educ. v. Doyle, 429 U.S. 274 (1977)

(providing employers who took adverse action against an employee on the basis of the employee’s

protected conduct with an opportunity to prove they would have taken the same adverse action in

the absence of the protected conduct). 4 The Supreme Court held that assessing a government

employer’s action, a court must “look to the facts as the employer reasonably found them to be.”

Waters, 511 U.S. at 677 (emphasis in original).

        Here, there is no dispute that Plaintiff knew (1) the restrictions DTF placed on her, see Neri

Decl. Exh. A; (2) the restrictions that JCOPE placed on her, Neri Decl. Exh. B; (3) that Defendant

Manion received a briefing from the Office of Internal Affairs which indicated that Plaintiff

violated those restrictions, Manion Decl; (4) that Defendant Manion decided to terminate Plaintiff

after receiving that briefing, Manion Decl; (5) the OIA investigation upon which Defendant

Manion was briefed included sworn statements from two eyewitnesses detailing Plaintiff’s

campaigning in the workplace after Plaintiff was informed of the restrictions, Gullie Decl.; Gullie

Decl. Exhs. B & E; (6) that the OIA investigation included sworn statements from two of Plaintiff’s

subordinates that she extracted their home addresses and then sent them solicitations to fund

Plaintiff’s campaign, Gullie Decl. Exhs. B & E; (7) that the OIA investigation concluded—based

on a comparison of when Lynn Rivers documented Plaintiff’s absence from the office to Plaintiff’s

timesheets—that Plaintiff did not charge leave accruals while out of the office campaigning, Gullie

Decl; (8) that a state employee’s time during the duty day is a state resource, Neri Decl; (9) that

Plaintiff was disciplined less than a year earlier for violating substantially similar rules relating to

conducting non-DTF business on DTF time, Boone Decl.; Manion Decl.; Dep. of Pl. at 115; or



        4
            Defendants’ answer asserted a Mount Healthy defense. Dkt. 17 at ¶43.
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(10) that Defendant Manion knew of Plaintiff’s disciplinary history for violating ethical rules,

Manion Decl. The undisputed evidence provides a substantial, legitimate, non-retaliatory basis

for Defendant Manion’s decision to terminate Plaintiff.

       The evidence also demonstrates that Defendant Starr took no action in Plaintiff’s

termination in reaction to anything Defendant Starr thought Plaintiff did. Rather, Defendant Starr

first became involved when Defendant Manion—the acting head of the agency for which

Defendant Starr worked—informed Defendant Starr that “Plaintiff would be terminated for

inappropriate use of DTF resources during a political campaign.” Starr Decl. By the time

Defendant Starr—at the time, DTF’s Assistant Director for Human Resources—became involved

in the process, the decision to terminate had already been made. Plaintiff conceded she did not

know what role Defendant Starr played in the termination. Dep. of Pl. at 56. Accordingly, Plaintiff

could not articulate any retaliatory conduct by Defendant Starr. Dep. of Pl. at 44. Defendant Starr

filled in Plaintiff’s knowledge gaps: Defendant Starr drafted a termination letter at Defendant

Manion’s direction, was present when Defendant Manion informed Plaintiff that she was

terminated and was present for a post-termination call. Starr Decl. No evidence demonstrates that

Defendant Starr took action because of any protected speech. Rather, Defendant Starr took action

because the senior official at the agency told her to do so.

       Similarly, the evidence shows Defendant Boone did not take action against Plaintiff for

engaging in any conduct, protected or otherwise. 5 Rather, the evidence demonstrates Defendant



       5
         To the extent that Plaintiff asks the Court to consider Defendant Boone’s decision to not
renew Plaintiff’s discretionary leave from her hold item when it expired in March 2016—a
decision Defendant Boone made after the IG informed him that Plaintiff had been abusing DTF
time to conduct non-DTF business—an act of retaliation, such action is neither mentioned in the
complaint nor within the statute of limitations. See dkt. 1; Starr Decl.; Boone Decl.; see also
Lucente v. Cnty. of Suffolk, 980 F.3d 284, 308 (2d Cir. 2020) (“The statute of limitations for § 1983
actions arising in New York is three years.”)
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Boone was out of the office on medical leave at the time Defendant Manion decided to terminate

Plaintiff, and Defendant Boone simply agreed with his subordinate’s decision. Boone Decl. As

argued in Section III, infra, merely approving a subordinate officer’s decision—and the evidence

demonstrates Defendant Boone agreed with the decision but did not necessarily have to approve

it—does not establish Section 1983 liability.

        A “showing of retaliatory intent is required for a retaliatory first amendment claim.”

Greenwich Citizens Comm. v. Counties of Warren & Washington Indus. Def. Agency, 77 F.3d 26,

32 (2d Cir. 1996). Not only does the evidence fail to establish a retaliatory intent, but the evidence

affirmatively demonstrates a legitimate, non-retaliatory motive for Defendants’ actions. The facts

as Defendant Manion reasonably found them to be indicate that Plaintiff violated directives by

both DTF and JCOPE not to campaign at the office using office resources. 6 Defendant Starr (an

HR professional) merely helped Defendant Manion (Defendant Starr’s organizational superior)

execute her decision. And Defendant Boone merely approved Defendant Manion’s decision. The

Court should grant the Defendants summary judgment on the merits.

 III.   Defendant Boone Was Not Personally Involved In Plaintiff’s Termination.

        “Personal involvement of defendants in alleged constitutional deprivations is a prerequisite

to an award of damages under §1983.” Wright v. Smith, 21 F.3d 496, 501 (2d Cir. 1994). There

“is no special rule for supervisory liability. Instead, a plaintiff must plead and prove ‘that each

Government-official defendant, through the individual’s own actions, has violated the

constitution.’” Tangreti v. Bachmann, 983 F.3d 609, 618 (2d Cir. 2020) (quoting Ashcroft v. Iqbal,

556 U.S. 662, 676 [2009]). A plaintiff “must therefore establish [each defendant] violated the



        6
         The relevant inquiry is only whether Defendant Manion reasonably concluded, not
whether Defendant Manion was, in fact, correct. See Waters, 511 U.S. at 677. That said, the
evidence demonstrates Plaintiff actually violated the ethical restrictions placed on her.
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[Constitution] by [his own] conduct, not by reason of [his] supervision of others who committed

the violation.” Id. at 619.

       Plaintiff alleges that, “[b]ecause of her rank as a Deputy Commissioner, any decision to

terminate Plaintiff had to be made with the knowledge and approval of Commissioner Boone.” 7, 8

Dkt. 1 at ¶19.     Defendant Boone acknowledges that he did approve Defendant Manion’s

determination to terminate Plaintiff. Boone Decl. However, “supervisory approval, without more,

is insufficient to show any personal involvement.” Washington v. Piper, 2019 U.S. Dist. LEXIS

206338, at *6 (S.D.N.Y. 2019). The “‘mere fact that a supervisory official affirmed the [discipline]




       7
          In the alternative to granting Defendant Boone summary judgment, the Court should
dismiss the case as to him for a failure to state a claim pursuant to Rule 12(b)(6). A “trial judge
may dismiss for failure to state a cause of action upon motion for summary judgment.” Schwartz
v. Compagnie Gen. Transatlantique, 405 F.2d 270, 273-74 (2d Cir. 1968); see Bradley v. Rell, 703
F. Supp. 2d 109, 114 (N.D.N.Y. 2010).

         A complaint “must contain sufficient factual matter, accepted as true, to ‘state a claim to
relief that is plausible on its face.’” Iqbal, 556 U.S. at 678 (quoting Bell Atlantic Corp. v. Twombly,
550 U.S. 544, 570 [2007]). Although the court should accept factual allegations as true and draw
reasonable inferences in the plaintiff’s favor (see Holmes v. Grubman, 568 F.3d 329, 335 (2d Cir.
2009)), “[t]hreadbare recitals of the elements of a cause of action, supported by mere conclusory
statements” are insufficient to withstand a motion to dismiss because such statements are not
entitled to the presumption of truth. Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at 555). “A
claim has facial plausibility when the plaintiff pleads factual content that allows the court to draw
the reasonable inference that the defendant is liable for the misconduct alleged.” Twombly, 550
U.S. at 570.

        Plaintiff’s only well-pleaded allegation against Defendant Boone is that he agreed with
Defendant Manion’s decision to fire Plaintiff. Dkt. 1 at ¶20. The complaint does not provide any
non-conclusory allegations that Defendant Boone took any retaliatory action. Accordingly,
Plaintiff failed to adequately plead Defendant Boone’s personal involvement.
       8
          While Plaintiff is not due any of the special solicitude normally owed a pro se litigant
because she is a seasoned, high-ranking litigator with decades of legal experience (see supra; see
also Dep. of Pl. at 27), the Court should be even less inclined to grant any leniency on deficiencies
in the complaint, which was drafted and filed by counsel nearly three years before Plaintiff elected
to represent herself. See dkt. 1; dkt. 49.


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will not suffice to establish that official’s personal involvement, which is a prerequisite to liability

under §1983.’” Caimite v. Rodriguez, 2020 U.S. Dist. LEXIS 64174, at *24–25 (N.D.N.Y. 2020)

(Hummel, M.J.) (quoting Collins v. Ferguson, 804 F.Supp.2d 134, 140 [W.D.N.Y. 2011]) rep. and

rec. adopted by 2020 U.S. Dist. LEXIS 174205 (N.D.N.Y. 2020). The only concrete action

Plaintiff has alleged—approving the decision to terminate—is insufficient to establish Defendant

Boone’s personal involvement. The undisputed evidence demonstrates that Defendant Boone did

no more than approve the termination. Accordingly, the Court should grant Defendant Boone

summary judgment based on the absence of his personal involvement.

IV.     The Court Should Grant Summary Judgment To All Defendants Based On Qualified
        Immunity.9

        Qualified immunity protects government officials from civil liability in the performance of

discretionary functions “as long as their actions could reasonably have been thought consistent

with the rights they are alleged to have violated.” Anderson v. Creighton, 483 U.S. 635, 638 (1987)

(emphasis added). It “shields government officials from civil damages liability unless the official

violated a statutory or constitutional right that was clearly established at the time of the challenged

conduct.” Soto v. Gaudett, 862 F.3d 148, 156 (2d Cir. 2017). A right only becomes “clearly

established” when “the contours of the right [are] sufficiently clear that a reasonable official would

understand that what he is doing violates that right. . . . The unlawfulness must be apparent.”

Anderson v. Creighton, 483 U.S. 635, 640 (1987). Officials are “entitled to qualified immunity

when their decision was reasonable, even if mistaken; the doctrine gives ample room for mistaken

judgments.” Hunter v. Bryant, 502 U.S. 224, 229 (1991). Qualified immunity protects “all but

the plainly incompetent or those who knowingly violate the law.” Taylor v. Barkes, 575 U.S. 822,




        9
            Defendants’ answer asserted a qualified immunity defense. Dkt. 17 at ¶38.
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825 (2015) (internal citations and quotations marks omitted); Mara v. Rilling, 921 F.3d 48, 69 (2d

Cir. 2019). Moreover, “a defense of qualified immunity may not be rebutted by evidence that the

defendant’s conduct was malicious or otherwise improperly motivated. Evidence concerning the

defendant’s subjective intent is simply irrelevant to that defense.” Crawford-El v. Britton, 523

U.S. 574, 588 (1998).

       Given the Supreme Court’s explicit approval of restrictions on political activity by

government employees, it was not clearly established that Plaintiff could not be terminated for

conducting political activity in the workplace. See Letter Carriers, 413 U.S. at 567 (“political

campaigning on the part of [government] employees may constitutionally be prohibited”). Letter

Carriers arguably permitted Defendants to prohibit Plaintiff from engaging in any partisan

political campaign. Yet the only restriction placed upon Plaintiff was to avoid using State

resources to conduct political activity. See Hotel Employees & Rest. Employees Union v. N.Y.C.

Dep’t of Parks & Rec., 311 F.3d 534, 545 (2d Cir. 2002) (permitting content-neutral restrictions

even in public forum); see also Moore v. U.S. Postal Serv., 159 F. App’x 265, 267 (2d Cir. 2005)

(explaining that a government office is “most accurately characterized as a non-public forum, a

location that the government has not opened for expressive activity by members of the public” and

thus can be subject to greater restrictions).

       The evidence demonstrates that OIA advised Defendant Manion that Plaintiff failed to

follow a simple, constitutionally-permissible directive: keep the campaign out of the workplace.

The evidence further demonstrates that Defendant Manion decided to take adverse action against

Plaintiff after OIA provided a briefing on Plaintiff’s ethical failures. Defendant Manion enlisted

the help of Defendant Starr, an HR professional, to carry out the adverse action. And Defendant

Manion informed Defendant Boone of her plan to take the adverse action against plaintiff. Under



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these circumstances, no Defendant’s conduct violates clearly-established law. Further, each

Defendant’s “actions could reasonably have been thought consistent with the rights they are

alleged to have violated.” Anderson, 483 U.S. at 638 (emphasis added). The Court should grant

summary judgment on the basis of qualified immunity.

V.      The Court Should Dismiss The Official Capacity Claims Because Plaintiff Failed To
        Allege That Any Defendant Could Provide The Prospective Relief Sought.

        The Eleventh Amendment bars suits for damages against state actors in their official

capacity. 10 A “suit against a state official in his or her official capacity is not a suit against the

official but a suit against the official’s office.” Will v. Mich. Dep’t of State Police, 491 U.S. 58,

71 (1989); see also id. at 71 n.10 (permitting Section 1983 suits for injunctive relief against state

officials in their official capacities). The ability to comply with injunctive relief would come from

a defendant’s official capacity, not their individual capacity because it is their office—not their

person—that gives them the ability to rectify any wrongful act. See Hill v. Shelander, 924 F.2d

1370, 1374 (7th Cir. 1991) (“injunctive relief against a state official may be recovered only in an

official capacity suit”).

        However, the complaint fails to allege that any Defendant had or has the ability to provide

the injunctive relief Plaintiff seeks: reinstatement. See generally dkt. 1; see id. at 5. The failure

to allege the ability to provide injunctive relief is fatal to an official capacity suit. See Soloviev v.

Goldstein, 104 F. Supp. 3d 232, 245 (E.D.N.Y. 2015). The Court should accordingly dismiss the

official capacity claim for failure to state a claim. See id; see also Iqbal, 556 U.S. at 679 (requiring

a plaintiff to plead facts demonstrating entitlement to relief).




        10
             Defendants’ answer asserted a sovereign immunity defense. Dkt. 17 at ¶34.
                                                   23
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       Further, none of the Defendants had an official capacity at DTF at any point during the

pendency of this suit. Plaintiff filed this action in August 2019 complaining of events taking place

in August 2016. Dkt. 1. The evidence demonstrates that each defendant retired from DTF prior

to the filing of this suit. See Boone Decl.; Manion Decl.; Starr Decl. With minimal diligence,

Plaintiff could have brough an official capacity suit against the holders of at least some of the

Defendants’    former    offices.     See   <https://www.tax.ny.gov/about/leadership-team.htm>

(identifying the Acting Commissioner and the Executive Deputy Commissioner). Plaintiff also

could have, but did not, bring suit against DTF for injunctive relief. Yet Plaintiff simply brought

suit against the officials who held those positions when DTF terminated her, regardless of their

present capacity.

       Rule 25 does not provide for automatic substitution in this case. Automatic substitution of

a successor in office occurs when the official capacity defendant “ceases to hold office while the

action is pending.” Fed. R. Civ. P. 25(d) (emphasis added). All Defendants ceased to hold office

prior to the commencement of this action. See Dkt. 1; Boone Decl.; Manion Decl.; Starr Decl.

Accordingly, the Court should grant summary judgment on the official capacity claim because the

evidence demonstrates that no Defendant can provide the injunctive relief sought, and the Eleventh

Amendment does not allow for damages against a state employee in her official capacity.

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                                   CONCLUSION

       The Court should grant Defendants’ motion for summary judgment and dismiss the

complaint in its entirety.

Dated: Albany, New York
       July 26, 2022

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              APPENDIX
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                                          Caimite v. Rodriguez
                          United States District Court for the Northern District of New York
                             September 23, 2020, Decided; September 23, 2020, Filed
                                              9:17-cv-919 (GLS/CFH)

Reporter
2020 U.S. Dist. LEXIS 174205 *; 2020 WL 5651672
                                                            review. See 2006 U.S. Dist. LEXIS 2926, [WL] at *3-4.
ECSON CAIMITE, Plaintiff, v. A. RODRIGUEZ et al.,
                                                            First, defendants contend that Judge Hummel erred in
Defendants.
                                                            relying on Rosales v. Bennett, 297 F. Supp. 2d 637
                                                            (W.D.N.Y. 2004), and Sweet v. Wende Corr. Facility,
Prior History: Caimite v. Rodriguez, 2020 U.S. Dist.
                                                            253 F. Supp. 2d 492 (W.D.N.Y. 2003), and concluding
LEXIS 64174 (N.D.N.Y., Apr. 9, 2020)
                                                            that a plaintiff [*2] does not have to specifically raise all
Counsel: [*1] Ecson Caimite, Plaintiff, Pro se,             issues in a hearing appeal to preserve or exhaust his
Coxsackie, NY.                                              claims. (Dkt. No. 73 at 4-7.) Second, defendants argue
                                                            that Judge Hummel erred in relying on Thomas v.
For A. Rodriguez, Acting Director of Special                Calero, 824 F. Supp. 2d 488 (S.D.N.Y. 2011), and
Housing/Inmate Disciplinary Program, NYS DOCCS, J.          concluding that a triable question of fact exists with
A. Esgrow, Commissioners Hearing Officer, Southport         regard to whether Rodriguez was personally involved in
Correctional Facility, Defendants: Matthew P. Reed,         a constitutional violation, because a review of the
LEAD ATTORNEY, New York State Attorney General -            record, as well as Rodriguez's declaration, shows that
Albany, The Capitol, Albany, NY.                            he lacked sufficient personal involvement. (Id. at 7-9.)

Judges: Gary L. Sharpe, United States District Judge.       Having carefully considered the R&R in light of
                                                            defendants' objections, the court sees no reason to
Opinion by: Gary L. Sharpe                                  repeat what is said in the R&R in conducting de novo
                                                            review because this court reaches the same
Opinion                                                     conclusions as those reached by Judge Hummel. (Dkt.
                                                            No. 72 at 18-26.)

                                                            Defendants' remaining arguments are "general,
SUMMARY ORDER                                               conclusory, perfunctory, [and] a mere reiteration of . . .
                                                            argument[s] [already] made," which triggers review only
On April 9, 2020, Magistrate Judge Christian F. Hummel      for clear error. See Rahman v. Fischer, No. 9:10-cv-
issued a Report-Recommendation and Order (R&R),             1496, 2014 U.S. Dist. LEXIS 20846, 2014 WL 688980,
which recommends that defendants A. Rodriguez's and         at *1 (N.D.N.Y. Feb. 20, 2014) (collecting cases);
J.A. Esgrow's motion for summary judgment be denied.        Almonte, 2006 U.S. Dist. LEXIS 2926, 2006 WL
(Dkt. No. 72.) Pending before the court are defendants'     149049, at *4 (explaining that resubmitting the same
objections to the R&R. (Dkt. No. 73.)                       arguments previously made "fails to comply with the
                                                            specificity requirement").
Only specific objections warrant de novo review. See
Almonte v. N.Y. State Div. of Parole, No. Civ.              For instance, defendants contend that Judge Hummel
904CV484, 2006 U.S. Dist. LEXIS 2926, 2006 WL               erred in concluding that triable issues of fact exist as to
149049, at *3-5 (N.D.N.Y. Jan. 18, 2006). Objections        whether Esgrow [*3] violated Caimite's constitutional
that are general, conclusory, frivolous, or a mere          due process rights because, according to defendants,
reiteration of an argument already made to the              Judge Hummel "ignore[d] the fact that it is [d]efendants'
Magistrate Judge trigger only clear error review. See       position that [Caimite] never called J. Webster/the tester
2006 U.S. Dist. LEXIS 2926, [WL] at *4-5.                   as a witness," and "ignore[d] th[e] fact that, . . . [when]
                                                            asked what witnesses he wanted to call, [Caimite]
Only two of defendants' arguments are arguably specific     requested several witnesses, but made no mention of J.
objections, for which the court has conducted de novo       Webster or the person who performed the drug testing."
          Case 1:19-cv-00948-BKS-CFH Document 57-1 Filed 07/26/22 Page 30 of 47
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                                          2020 U.S. Dist. LEXIS 174205, *3

(Dkt. No. 73 at 9-10.) However, as the R&R illustrates,
the opposite is actually true. Indeed, Judge Hummel
specifically addressed, and, after a thorough analysis,
rejected, these same arguments. (Dkt. No. 72 at 12-18.)

Lastly, defendants maintain that Judge Hummel erred in
concluding that a triable issue of fact exists as to
whether defendants are entitled to qualified immunity,
and that the court incorrectly concluded this by its
"mistaken analysis of [Caimite's] due process claims."
(Dkt. No. 73 at 10.) This gripe is entirely conclusory and
reiterates a previous argument made by defendants in
their motion for summary judgment, and, thus, triggers
only clear error review. (Dkt. No. 60, Attach. 10 at 10-
11); see Almonte, 2006 U.S. Dist. LEXIS 2926, 2006
WL 149049, at *4-5.

After reviewing the R&R, there is no apparent, let
alone [*4] clear, error in Judge Hummel's analysis,
which squarely addresses defendants' arguments and
provides multiple, appropriate reasons for denying
defendants' motion for summary judgment. (Dkt. No. 72
at 12-18, 22-23). Accordingly, the R&R, is adopted in its
entirety.

Accordingly, it is hereby

ORDERED that the Report-Recommendation and Order
(Dkt. No. 72) is ADOPTED in its entirety; and it is further

ORDERED that defendants' motion for summary
judgment (Dkt. No. 60) is DENIED; and it is further

ORDERED that this case is now deemed trial ready and
a trial scheduling order will be issued in due course; and
it is further

ORDERED that the Clerk provide a copy of this
Summary Order to the parties.

IT IS SO ORDERED.

September 23, 2020

Albany, New York

/s/ Gary L. Sharpe

Gary L. Sharpe

U.S. District Judge


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                                            Caimite v. Rodriguez
                          United States District Court for the Northern District of New York
                                      April 9, 2020, Decided; April 9, 2020, Filed
                                            No. 9:17-CV-0919 (GLS/CFH)

Reporter
2020 U.S. Dist. LEXIS 64174 *; 2020 WL 6530780
                                                              opposed the motion, and Defendants submitted a reply.
ECSON CAIMITE, Plaintiff, v. A. RODRIGUEZ; J.A.
                                                              Dkt. Nos. 66, 67, and 70. For the following reasons, it is
ESGROW, Defendants.
                                                              recommended that Defendants' motion for summary
                                                              judgment be denied.
Subsequent History: Adopted by, Summary judgment
denied by Caimite v. Rodriguez, 2020 U.S. Dist. LEXIS
174205 (N.D.N.Y., Sept. 23, 2020)
                                                              I. BACKGROUND
Prior History: Caimite v. Venettozzi, 2018 U.S. Dist.
LEXIS 185631 (N.D.N.Y., Oct. 29, 2018)
                                                              A. Procedural History
Counsel: [*1] ECSON CAIMITE, Plaintiff, Pro se.
Coxsackie, New York.                                          On August 21, 2017, the Court received the Complaint
                                                              in the within action. See Compl. Upon review, the Court
For Defendants: DENISE P. BUCKLEY, ESQ., Assistant            directed a response to the Fourteenth Amendment due
Attorney General, OF COUNSEL, HON. LETITIA                    process [*2] claims, the Eighth Amendment conditions
JAMES, Attorney General for the State of New York,            of confinement claims, and the pendent state law
Assistant Attorney General, Albany, New York.                 claims. Dkt. No. 7. On March 1, 2018, Defendants filed
                                                              a motion to dismiss pursuant to Rule 12(b)(6) of the
Judges: Christian F. Hummel, United States Magistrate         Federal Rules of Civil Procedure ("Fed. R. Civ. P."). Dkt.
Judge.                                                        No. 19. In a Report-Recommendation and Order filed on
                                                              October 29, 2018, the Court recommended dismissal of
Opinion by: Christian F. Hummel                               the Eighth Amendment conditions of confinement claims
                                                              and state law claims, but denied the motion with respect
Opinion                                                       to Caimite's Fourteenth Amendment claims against
                                                              Rodriguez and Esgrow in connection with a Tier III
                                                              hearing concerning a January 2016 misbehavior report.2
                                                              Dkt. No. 28 (the "October 2018 R&R"). On November
REPORT-RECOMMENDATION AND ORDER1                              20, 2018, the Court adopted the Report-
                                                              Recommendation and Order in its entirety. Dkt. No. 29.
Plaintiff pro se Ecson Caimite ("plaintiff" or "Caimite"),
an inmate who was, at all relevant times, in the custody      On June 6, 2019, Caimite appeared at a deposition. Dkt.
of the New York Department of Corrections and                 No. 60-3. On December 4, 2019, Defendants filed the
Community Supervision ("DOCCS"), brings this action           within motion pursuant to Fed. R. Civ. P. 56 seeking
pursuant to 42 U.S.C. § against Defendants A.                 judgment as a matter of law with respect to Caimite's
Rodriguez ("Defendant" or "Rodriguez") and J.A.               claims. Dkt. Nos. 60, 70 (reply). Caimite opposed the
Esgrow ("Defendant" or "Esgrow") for violations of his        motion. Dkt. Nos. 66, 67.
rights under the Fourteenth Amendment. Dkt. No. 1
("Compl."). Presently before the Court is Defendants'
motion for summary judgment. Dkt. No. 60. Caimite


1 Thismatter was referred to the undersigned for report and   2 Inan Order filed on November 20, 2018, the Court adopted
recommendation pursuant to 28 U.S.C. § 636(b) and N.D.N.Y.    the October 2018 Report-Recommendation and Order in its
L.R. 72.3(c).                                                 entirety. Dkt. No. 29.
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B. Facts3                                                             smuggling. Dkt. No. 66 at 30.6 In the January MBR,
                                                                      Gebo stated:
In support of the motion, Defendants filed a Statement
of Material Facts.4 Dkt. No. 60-9. The facts are reviewed                  On the above date and approximate time, Inmate
in the light most favorable to Caimite as the non-moving                   Caimite was returning from the infirmary. Inmate
party. See subsection II (A) infra. In January 2016, [*3]                  Caimite had requested a medical exam by his
Plaintiff was confined at Great Meadow Correctional                        provider, PA Nesmith. Inmate Caimite expressed
Facility. See generally, Compl. On January 7, 2016,                        some pain in the lower back area. PA Nesmith
Corrections Officer Gebo ("C.O. Gebo")5 issued Caimite                     ordered x-rays to rule out the possibility of a
a misbehavior report ("January MBR") charging him with                     fracture to the low back. During the x-rays, PA
possession of contraband, possession of marijuana, and                     Nesmith observed an unidentifiable foreign object
                                                                           near the inmate's rectal area. Inmate Caimite was
                                                                           then escorted back to B-1. Prior to securing Inmate
3 The parties provided exhibits with their submissions, without            Caimite in his assigned cell, Sgt. Bascue, who was
objection or challenges to the authenticity of any documents.              notified of the foreign object, ordered a strip frisk of
Therefore, to the extent that the "facts" the parties assert are           Inmate Caimite so that the foreign object could then
supported by the record, the undersigned will consider the                 be identified. Inmate Caimite denied possessing
facts and relevant exhibits/documents in the context of the                any contraband, but agreed to the strip frisk. During
within motion. See U.S. v. Painting known as Hannibal, No.                 the strip frisk, I observed a torn state issued bed
07-CV-1511, 2010 U.S. Dist. LEXIS 50483, 2010 WL                           sheet strand that Inmate Caimite had tied around
2102484, at *1, n.2 (S.D.N.Y. May 18, 2010) (citing Daniel v.
                                                                           his waist. I was able to untie [*4] the bed sheet,
Unum Provident Corp., 261 F. App'x 316, 319 (2d Cir. 2008)
                                                                           which allowed the torn bed sheet strand to fall to
(summary order) ("[A] party is not required to authenticate
                                                                           the floor. I then observed several bundles tied to
documents on a summary judgment motion where, as here,
authenticity is not challenged by the other party)). In light of           the torn bed sheet which contained unknown
the procedural posture of the case, the following recitation is            objects. I retrieved the torn bed sheet strand and
derived from the record now before the Court, with all                     set the item to the side so that I could finish the
inferences drawn and ambiguities resolved in non-moving                    strip frisk. No further contraband was recovered
party's favor. Terry v. Ashcroft, 336 F.3d 128, 137 (2d Cir.               during the strip frisk. I surrendered the suspected
2003).                                                                     contraband to certified NIK tester CO J. Webster.
4 N.D.N.Y,   Local Rule 7.1(a)(3) states: `Summary Judgment                Officer Webster using NIK Test (E), tested the
Motions `Any motion for summary judgment shall contain a                   contents of the bundles. Three of the bundles
Statement of Material Facts. The Statement of Material Facts               containing a green leafy substance tested positive
shall set forth, in numbered paragraphs, each material fact                for marijuana. Two of the bundles weighed .2
about which the moving party contends there exists no                      grams and the third bundle weighed .4 grams for a
genuine issue. Each fact listed shall set forth a specific citation        total of .8 grams. At the conclusion of the testing
to the record where the fact is established. The record for                Officer Webster secured the marijuana in a[n]
purposes of the Statement of Material Facts includes the                   evidence bag and secured the contraband in the
pleadings, depositions, answers to interrogatories, admissions             secure evidence drop box [. . .] in accordance with
and affidavits. `The opposing party shall file a response to the
                                                                           Directive 4910(A).
Statement of Material Facts. The non-movant's response shall
                                                                      Dkt. No. 66 at 30.
mirror the movant's Statement of Material Facts by admitting
and/or denying each of the movant's assertions in matching
                                                                      Soon after the January MBR was issued, Caimite was
numbered paragraphs. Each denial shall set forth a specific
                                                                      transferred to Southport Correctional Facility ("Southport
citation to the record where the factual issue arises. The non-
                                                                      C.F."). Dkt. No. 60-3 at 31. On January 28, 2016, while
movant's response may also set forth any additional material
facts that the non-movant contends are in dispute. Any facts          Caimite was confined at Southport C.F., a Tier III
set forth in the Statement of Material Facts shall be deemed          disciplinary hearing related to the January MBR
admitted unless specifically controverted by the opposing             commenced. Id. at 35. Esgrow presided over the
party. `Local Rule 7.1(a)(3).                                         hearing, [*5] which was recorded and transcribed. Dkt.
                                                                      No. 60-4 at ¶¶ 18, 19.
5 Ina Decision and Order filed on October 25, 2017, the Court
found that Plaintiff's claims against Gebo did not survive
review pursuant to 28 U.S.C. § 1915(e)(2)(B) and 28 U.S.C. §          6 Unless otherwise noted, the Court's citations to page
1915A(b) and dismissed Gebo from the action. See Dkt. No. 7           numbers refer to the pagination generated by CM/ECF, not the
at 14.                                                                page numbers in the parties' documents.
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At the commencement of the hearing, Caimite                        ESGROW: What questions [*7] do you have for the
requested documents and time to prepare for the                    hospital porters?
hearing. Dkt. No. 60-5 at 1-13. Esgrow adjourned the          Dkt. No. 60-5 at 51-52. Esgrow and Caimite discussed
hearing until February 8, 2016. Id. at 13. On February 8,     the questions Caimite intended to pose to the hospital
2016, Caimite requested several witnesses including           porters and inmates and the hearing was adjourned.
P.A. Smith, the x-ray technician (Karkowski), the             Dkt. No. 60-5 at 52-57.
escorting officer, Sergeant Bascue, Sergeant Fraser,
the hospital porters, and inmates from B-block. Dkt. No.      On February 25, 2016, Esgrow advised that he was
60-4 at ¶ 20; Dkt. No. 60-5 at 16-17. Esgrow and              ready to issue a decision and presented Caimite with
Caimite discussed potential questions for the                 Form 2176, a two-page document entitled Witness
aforementioned witnesses. Dkt. No. 60-5 at 15-34. After       Interview Notice. Dkt. No. 60-5 at 88. The form, which
Sergeant Fraser testified, the hearing was adjourned          Esgrow prepared, included information related to the
until February 12, 2016. Id. at 36.                           following witnesses: Bascue, Fraser, C.O. McCarthy, x-
                                                              ray technician, Karkowski, C.O. Gebo, C.O. J. Smith,
On February 12, 2016, during a discussion regarding           P.A. Nesmith, "all hospital porters," and inmates within
the chain of custody, Esgrow directed Caimite's               B-block. Dkt. No. 60-11 at 10-11. On the form, Esgrow
attention to a copy of Form 2080, a Request for Test of       noted that Fraser, Gebo, Bascue, Smith, McCarthy, and
Suspected Contraband Drugs. Dkt. No. 60-5 at 38; Dkt.         Karkowski were called to testify and he provided
No. 60-11 at 65. Esgrow stated that the document              explanations for denying Caimite's requests for
"shows chain of custody from the officer who claims that      testimony from hospital porters, inmates within B-block,
he collected the, the evidence to the officer that,           and P.A. Nesmith. Dkt. No. 60-4 at ¶ 37; Dkt. No. 60-11
according to the documents, tested it" and specifically       at 7-8, 10-11. Caimite refused to accept the form and
referenced CO Webster by name. Dkt. No. 60-5 at 38.           stated, "I'm objecting to witness refuses [sic]." Dkt. No.
                                                              60-5 at 88.
After Sergeant Bascue testified, [*6] Caimite and
Esgrow engaged in the following colloquy:                     Esgrow read the disposition into the record. Dkt. No. 60-
     ESGROW: . . . Mr. Caimite you had an opportunity         4 at ¶ 18; Dkt. No. 60-5 at 88. Esgrow found Caimite
     to read this two-page extension, is that correct?        guilty [*8] of all charges, and sentenced him to 240
     CAIMITE: I had the opportunity to read it and I          days in the Special Housing Unit ("SHU"). Dkt. No. 60-
     would like a copy.                                       11 at 3. Caimite refused to sign the disposition and
     ESGROW: That request is denied. Any comments             requested an appeals form. Dkt. No. 60-5 at 91; Dkt.
     on this?                                                 No. 60-11 at 6. When Caimite began to voice his
     CAIMITE: Yes I would like a copy due to the fact         objections, Esgrow stated, "[y]ou need to make these
     that I would like to investigate and review it, due to   objections in writing. Here is your copy of your
     the fact that right now, I'm also right now putting      disposition. Id. at 92. Caimite continued, "I object the
     together my questioning. Also I'd like to view the       hearing officer never allowed me, never allowed witness
     video tape of the strip-frisk.                           to, the tester." Id. Esgrow responded, "You didn't
     ESGROW: You already watched it.                          request a tester. You need to make these objections in
     CAIMITE: I was rushed last time due to limited time.     writing." Id.
     I would like to watch that one more time so I can
     marshal the facts and prepare my defense.                On March 8, 2016, Caimite appealed the disciplinary
     ESGROW: That request is denied. Anything else?           disposition. Dkt. No. 60-7 at 3-6; Dkt. No. 66 at 22. In
     CAIMITE: I would object to that.                         the appeal, Caimite argued that (1) the strip frisk was
     ESGROW: So noted, anything else?                         unlawful; (2) he was not timely served with the January
     CAIMITE: I also, I also asked for um, witnesses,         MBR; (3) Esgrow failed to comply with the 24-hour
     hospital porters? I have questions for these             deadline for rendering his determination and failed to
     witnesses right here. I asked for uh, inmates who        serve a written disposition on Caimite; (4) Esgrow
     watched the search of me when I came out of the          denied Plaintiff's request to telephone his attorney
     cell [. . . ]. I have questions for these witnesses.     during the hearing; (5) Esgrow "continuously interfered
     Also, I would like Officer Gebo as a witness.            with witness questioning," "disallowed pertinent material
     ESGROW: Yeah, I know. What questions to you              questions," led witnesses, and was "caught red handed
     have for the hospital porters?                           sneaking and filling out parts [*9] of disposition forms
     CAIMITE: And also J. Webster.                            before Caimite even finished questioning witnesses;"
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and (6) Esgrow wrongfully refused to allow Plaintiff to     law. The moving party bears the burden of
call Nesmith, hospital porters, and inmates. Dkt. No. 60-   demonstrating the absence of disputed material facts by
7 at 3-6.                                                   providing the court with portions of pleadings,
                                                            depositions, and affidavits which support the motion.
On March 11, 2016, the Office of Special Housing and        Fed. R. Civ. P. 56; Celotex Corp. v. Catrett, 477 U.S.
Inmate Disciplinary Programs received Caimite's             317, 323, 106 S. Ct. 2548, 91 L. Ed. 2d 265 (1986).
appeal. Dkt. No. 60-6 at ¶ 16; Dkt. No. 60-9 at ¶ 12. On    Facts are material if they may affect the outcome of the
March 14, 2016, Caimite's sentence was modified and         case as determined by substantive law. Anderson v.
reduced to 140 days, with 40 days suspended. Compl.         Liberty Lobby, Inc., 477 U.S. 242, 248, 106 S. Ct. 2505,
at ¶ 39.                                                    91 L. Ed. 2d 202 (1986). All ambiguities are resolved
                                                            and all reasonable inferences are drawn in favor of the
In May 2016, the Office of Special Housing and Inmate
                                                            non-moving party. Skubel v. Fuoroli, 113 F.3d 330, 334
Disciplinary Programs received a "Supplemental
                                                            (2d Cir. 1997).
Appeal" from Prisoners' Legal Services, on behalf of
Caimite. Dkt. No. 66 at 22-24. On July 20, 2016, Caimite
                                                            The party opposing the motion must set forth facts
filed a proceeding in state court pursuant to CPLR
                                                            showing a genuine issue for trial. Matsushita Elec.
Article 78, challenging the disposition. Dkt. No. 60-3 at
                                                            Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574,
70-71; Caimite v. Annucci, 155 A.D.3d 1171, 62
                                                            586, 106 S. Ct. 1348, 89 L. Ed. 2d 538 (1986). For a
N.Y.S.3d 822 (N.Y. App. Div. 2017). During the              court to grant a motion for summary judgment, it must
pendency of that action, Caimite served his SHU             be [*11] apparent that no rational finder of fact could
sentence. Compl. at ¶ 40. On or about December 11,          find in favor of the non-moving party. Gallo v. Prudential
2016, Caimite was released from the SHU. Id.                Residential Servs., Ltd. Partnership, 22 F.3d 1219,
                                                            1223-24 (2d Cir. 1994); Graham v. Lewinski, 848 F.2d
On June 27, 2017, while the Article 78 petition was
                                                            342, 344 (2d Cir. 1988).
pending, Rodriguez, Assistant Director of the Office of
Special Housing and Inmate Disciplinary Programs,
                                                            Where, as here, a party seeks judgment against a pro
informed Superintendent Joseph H. Noeth that the
                                                            se litigant, a court must afford the non-movant special
disciplinary determination was reversed "based on a
                                                            solicitude. See Triestman v. Federal Bureau of Prisons,
recommendation [*10] from the NYS Attorney General's
                                                            470 F.3d 471, 477 (2d Cir. 2006). As the Second Circuit
Office." Compl. at ¶ 41; Dkt. No. 66 at 16.
                                                            has stated,
                                                                 [t]here are many cases in which we have said that a
                                                                 pro se litigant is entitled to "special solicitude," . . .
II. DISCUSSION
                                                                 that a pro se litigant's submissions must be
Defendants contend that Caimite's Fourteenth                     construed "liberally,". . . and that such submissions
Amendment claims lack merit and further, that                    must be read to raise the strongest arguments that
Rodriguez was not personally involved in any                     they "suggest," . . . . At the same time, our cases
Fourteenth Amendment violations. Dkt. No. 60.                    have also indicated that we cannot read into pro se
Alternatively, Defendants argue that they are entitled to        submissions claims that are not "consistent" with
qualified immunity. Defendants also argue that Caimite           the pro se litigant's allegations, . . . or arguments
failed to exhaust his administrative remedies.7 See id.          that the submissions themselves do not "suggest," .
                                                                 . . that we should not "excuse frivolous or vexatious
                                                                 filings by pro se litigants," . . . and that pro se status
A. Legal Standard                                                "does not exempt a party from compliance with
                                                                 relevant rules of procedural and substantive law.
A motion for summary judgment may be granted if there
is no genuine issue as to any material fact, it was         Id. (citations and footnote omitted); see also Sealed
supported by affidavits or other suitable evidence, and     Plaintiff v. Sealed Defendant, 537 F.3d 185, 191-92 (2d
the moving party is entitled to judgment as a matter of     Cir. 2008) ("On occasions too numerous to count, we
                                                            have reminded district courts that 'when [a] plaintiff
                                                            proceeds pro se, ... a court is obliged to construe his
7 In
                                                            pleadings liberally.'" [*12] (citations omitted)). However,
      their Answer, Defendants pleaded, inter alia, the
                                                            the mere existence of some alleged factual dispute
affirmative defense that Caimite failed to exhaust his
administrative remedies. Dkt. No. 32 at ¶ 16.               between the parties will not defeat an otherwise properly
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supported motion; the requirement is that there be no         atypical and significant hardship. Wilkinson v. Austin,
genuine issue of material fact. Anderson, 477 U.S. at         545 U.S. 209, 223, 125 S. Ct. 2384, 162 L. Ed. 2d 174
247-48.                                                       (2005) (citations omitted). Instead, the Second Circuit
                                                              has provided a general guideline: "[w]here the plaintiff
                                                              was confined for an intermediate duration—between
B. Fourteenth Amendment                                       101 and 305 days—'development of a detailed record'
                                                              of the conditions of confinement relative to ordinary
Caimite claims that Esgrow violated his right to              prison conditions is required." Palmer v. Richards, 364
procedural due process by refusing to call J. Webster as      F.3d 60, 64-65 (2d Cir. 2004) (quoting Colon, 215 F.3d
a witness without justification supported by institutional    at 232). In the [*14] absence of a dispute about the
need. See generally Compl. Caimite also contends that         conditions of confinement, summary judgment may be
Rodriguez violated his due process rights in connection       issued "as a matter of law." Id. at 65 (citations omitted).
with the disciplinary disposition on appeal. See id.
                                                              After the Tier III disciplinary hearing, Caimite was
The Due Process Clause of the Fourteenth Amendment            sentenced to 240 days in SHU confinement. See Dkt.
states: "[n]o State shall . . . deprive any person of life,   No. 60-11 at 3. Caimite was also penalized with a loss
liberty, or property without due process of law." U.S.        of commissary, telephone privileges, and packages.
CONST. AMEND. XIV § 1. To set forth a prima facie             See id. The sentence was modified to 140 days, with 40
due process claim, "a plaintiff must establish (1) that he    days suspended. See Dkt. No. 60-3 at 37. During his
possessed a liberty interest and (2) that the                 deposition, Caimite described the conditions he endured
defendant(s) deprived him of that interest as a result of     while confined in the SHU. Caimite testified that the
insufficient process." Giano v. Selsky, 238 F.3d 223,         vents in the SHU were clogged, causing a foul smell,
225 (2d Cir. 2001) (citation and quotation marks              that SHU inmates "scream[ed] all day long," and that
omitted); see Mitchell v. Keane, 974 F.Supp. 332, 342         inmates threw feces and urine. Dkt. No. 60-3 at 45-46.
(S.D.N.Y. 1997) ("To state a procedural due process
claim challenging a disciplinary action, a prisoner must      For the purposes of this motion, defendants do not
allege both that he was deprived of a liberty interest        argue that Caimite's SHU confinement did not constitute
cognizable under the Due Process Clause, and that he          a deprivation of a cognizable liberty interest. See Dkt.
was deprived of that interest without the requisite           No. 60-10 at 8-10; Dkt. No. 70 at 4-6.
[procedural due] process.") (emphasis [*13] added).

                                                              2. Procedural Due Process
1. Liberty Interest
                                                              Caimite contends that he was deprived of the
An inmate has a protected liberty interest in being free      opportunity to call J. Webster as a witness and that
from segregated confinement but only where the alleged        Esgrow failed to provide an explanation for denying the
deprivation imposed amounts to an "atypical and               witness. See Dkt. No. 66 at 7. Defendants argue that
significant hardship in relation to the ordinary incidents    Caimite was afforded ample due process. The due [*15]
of prison life." Sandin v. Conner, 515 U.S. 472, 483-84,      process protections afforded an inmate do not equate to
115 S. Ct. 2293, 132 L. Ed. 2d 418 (1995). "Factors           "'the full panoply of rights' due to a defendant in a
relevant to determining whether the plaintiff endured an      criminal prosecution." Sira v. Morton, 380 F.3d 57, 69
'atypical and significant hardship' include 'the extent to    (2d Cir. 2004) (quotation omitted).
which the conditions of the disciplinary segregation               Nevertheless, an inmate is entitled to advance
differ from other routine prison conditions' and 'the              written notice of the charges against him; a hearing
duration of the disciplinary segregation imposed                   affording him a reasonable opportunity to call
compared to discretionary confinement.'" Davis v.                  witnesses and present documentary evidence; a
Barrett, 576 F.3d 129, 133 (2d Cir. 2009) (quoting                 fair and impartial hearing officer; and a written
Sandin, 515 U.S. at 484). Although not dispositive, the            statement of the disposition, including the evidence
duration of a disciplinary confinement is significant in           relied upon and the reasons for the disciplinary
determining atypicality. Colon v. Howard, 215 F.3d 227,            actions taken.
231 (2d Cir. 2000) (citations omitted). No firmly
established, bright-line rule exists to determine the         Id. (citing Wolff v. McDonnell, 418 U.S. 539, 563-67, 94
length or type of sanction that rises to the level of         S. Ct. 2963, 41 L. Ed. 2d 935 (1974)).
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An accused prisoner has the right to a hearing where he              LEXIS 1666, 2008 WL 111194, at *10 (W.D.N.Y.
is given the reasonable opportunity to call witnesses                Jan. 9, 2008) ("When an inmate is precluded from
and present documentary evidence. See Sira, 380 F.3d                 obtaining certain witness testimony or other
at 69. "It is well settled that an official may refuse to call       evidence, due process requires that the inmate be
witnesses as long as the refusal is justifiable [such as] .          provided reasons for the denial either at the
. . on the basis of irrelevance or lack of necessity." Scott         disciplinary hearing or at a later time") (citation
v. Kelly, 962 F.2d 145, 146-47 (2d Cir.1992) (quoting                omitted). Although defendants argue that the
Kingsley v. Bureau of Prisons, 937 F.2d 26, 30 (2d                   testimony J. Webster would have provided
Cir.1991)). The right to call witnesses "is not unfettered .         regarding the "green leafy substance" found in
. . [and] may be limited for security reasons, to keep a             plaintiff's rectum was ultimately presented to H.O.
hearing within reasonable limits, or on the basis of                 Esgrow in written reports, due process requires that
irrelevance of lack of necessity." Brooks v. Rock, No.               the hearing officer inform plaintiff why he denied a
9:11-CV-1171 (GLS/ATB), 2014 U.S. Dist. LEXIS                        witness. See Russell, 35 F.3d at 58; Gonzalez,
43848, 2014 WL 1292232, at *28 (N.D.N.Y. Mar. 28,                    2014 U.S. Dist. LEXIS 44762, 2014 WL 1316557,
2014) (citations omitted); Richard v. Fischer, 38 F.                 at *5. Thus, H.O. Esgrow's refusal to call the
Supp.3d 340, 359 (W.D.N.Y. 2014) (citation omitted)                  individual who conducted the drug test on the
("While inmates are entitled to call witnesses at                    foreign object found in plaintiff's rectum, "without
disciplinary hearings, hearing [*16] officers may deny               any justification supported by institutional need,
witness testimony as irrelevant or redundant.").                     may well constitute a violation of [plaintiff's] due
                                                                     process rights." Sowell v. Bullis, No. 9:13-CV-1482
The Second Circuit has held that it is the prison official's         (GLS/DJS), 2016 U.S. Dist. LEXIS 40453, 2016 WL
burden to establish the rationality of declining an                  1696454, at *12 (N.D.N.Y. Mar. 25, 2016).
inmate's witness request. See Kingsley, 937 F.2d at 30.
To satisfy this burden, the prison official must provide         Caimite v. Venettozzi, No. 9:17-CV-0919 (GLS/CFH),
"some explanation" during or after the hearing as to why         2018 U.S. Dist. LEXIS 185631, 2018 WL 6069458, at *7
he or she declined the witness. See Russell v. Selsky,           (N.D.N.Y. Oct. 29, 2018), Report-Recommendation &
35 F.3d 55, 58 (2d Cir. 1994). "While prison officials           Order adopted, 2018 U.S. Dist. LEXIS 197502, 2018
need not put their reasons for refusing the inmate's             WL 6068414 (N.D.N.Y. Nov. 20, 2018).8
request in writing or into the administrative record of the
disciplinary hearing, due process does require that              Now, Defendants move for summary judgment on the
prison officials 'at some point' state their reasons for         same issue, arguing that Caimite never "actually
refusing the inmate's request." Gonzalez v. Chalk, No.           requested" J. Webster or the person who performed the
13 Civ. 5486, 2014 U.S. Dist. LEXIS 44762, 2014 WL               drug testing during the Tier III hearing. Dkt. No. 70 at 6.
1316557, at *5 (S.D.N.Y. Apr. 1, 2014) (citing Ponte v.          As Defendants do not acknowledge in their
Real, 471 U.S. 491, 492, 105 S. Ct. 2192, 85 L. Ed. 2d           memorandum of law in support of their [*18] motion for
553 (1985)).                                                     summary judgment Caimite's request for J. Webster's
                                                                 testimony during the hearing, it necessarily follows that
As discussed supra, Defendants previously moved for              Defendants have not provided the Court with evidence
dismissal of Caimite's Fourteenth Amendment due                  explaining Esgrow's reasons for refusing to allow J.
process claim, arguing that Caimite failed to state a            Webster to testify at the hearing. In support of the
claim against Esgrow based upon Esgrow's denial of J.            motion, Defendants provided copies of the Witness
Webster as a witness. See generally, Dkt. No. 19. In the         Interview Notice and Hearing Record Sheet. Both
October 2018 R&R, which was affirmed by the Court,               documents lack any reference to J. Webster and/or the
the undersigned denied Defendants' motion and                    person who performed the subject testing. Dkt. No. 60-4
reasoned:                                                        at ¶ 32, 39. Defendants argue that, "[h]ad plaintiff
                                                                 requested as a witness J. Webster and/or the person
    . . . as to H.O. Esgrow's denial of J. Webster, there        who performed drug testing on the subject contraband,
    is no indication in the pleadings that H.O. Esgrow           [Esgrow] would have listed this request" in the Hearing
    offered "some explanation" as to why he denied the
    witness, as is required under the Fourteenth
                                                                 8 The Court has not provided copies of the cases cited within
    Amendment. See Gonzalez, 2014 U.S. Dist. LEXIS
                                                                 this excerpt from the October 2018 Report-Recommendation
    44762, 2014 WL 1316557, at *5; [*17] see Lebron
                                                                 & Order or the Report-Recommendation & Order itself, as
    v. Artus, No. 06-CV-0532(VEB), 2008 U.S. Dist.
                                                                 those were already provided to plaintiff in October 2018.
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Record Sheet and the Witness Interview Notice. Id. at         Esgrow never asked Caimite why J. Webster's
¶¶ 33, 40.                                                    testimony was necessary or what questions Caimite
                                                              intended to ask of J. Webster. Esgrow seems to have
In further support of the motion, Esgrow provided a           ignored the reference entirely, either intentionally or
declaration and avers, "the transcript does not indicate      unintentionally. Id.
that plaintiff ever requested a person by the name of 'J.
Webster' or the individual who conducted the drug test        During his deposition in this case, Caimite claimed that
on the suspected contraband that was retrieved from           the drugs were "planted" on him. Dkt. No. 60-3 at 69.
plaintiff during the strip frisk." Dkt. No. 60-4 at ¶ 21.     Caimite explained that if J. Webster were called to
Esgrow continues, "at no point did plaintiff request that     testify, Caimite would have presented questions related
J. Webster or the person who performed drug [*19]             to the chain of custody and testing procedures. Id. at 61-
testing on the suspected contraband, be called as a           65. Specifically, Caimite would have posed questions
witness." Id. at ¶¶ 23, 25. Defendants' conclusory            concerning where Webster put the drugs after he
assertions are not supported by the evidence. Indeed, a       conducted testing and Webster's involvement with the
review of the hearing transcript belies Defendants'           misbehavior [*21] report. Id. at 65-66.
claims here.
                                                              On February 25, 2016, Esgrow attempted to obtain
During the hearing, Esgrow provided Caimite with a            Caimite's signature on the Witness Interview Notice
copy of the Request for Test of Suspected Contraband          form. Dkt. No. 60-5 at 88. Esgrow acknowledges that
and Drugs which documented that Gebo transferred the          the form does not include any reference to J. Webster
subject substance to J. Webster on January 7, 2016 at         and/or the person who performed drug testing on the
9:05 A.M. and subsequently, at 11:30 A.M., Webster            suspected contraband. Dkt. No. 60-4 at ¶¶ 35-39.
transferred the substance to the "contraband drop box."       Caimite refused to execute the document. Dkt. No. 60-5
Dkt. No. 60-11 at 65. Caimite reviewed the document           at 88. Esgrow then read the disposition into the record.
and requested evidence "to see how the chain of               Dkt. No. 60-5 at 89-92. As Caimite began to object,
custody was handled." Dkt. No. 60-3 at 60; Dkt. No. 60-       Esgrow informed Caimite that he had to make his
5 at 38. Esgrow responded, "[w]ell you have the               objections in writing. Id. at 92. Caimite stated, "I object
document that shows the chain of custody from the             the hearing officer never allowed me, never allowed
officer who claims that he collected the, the evidence to     witness to, the tester." Id. Esgrow responded, "You
the officer that, according to the documents, tested it."     didn't request a tester. You need to make these
Dkt. No. 60-5 at 38.                                          objections in writing." Dkt. No. 60-5 at 92.

Later the same day, Esgrow and Caimite engaged in the         In the memorandum of law in support of the motion to
following colloquy:                                           dismiss, Defendants argue that Plaintiff did not request
                                                              J. Webster or the individual who conducted the drug
     CAIMITE: I also, I also asked for um, witnesses,         test, as a witness during the hearing. Dkt. No. 60-10 at
     hospital porters? I have questions for these             5, 8, 10. In their Reply memorandum, Defendants
     witnesses right here. I asked for uh, inmates who        concede that the hearing transcript "reflects one
     watched the search of me when I came out of the          reference to J. Webster and one reference to 'the
     cell [*20] [. . . ]. I have questions for these          tester[,]'" but claim that Caimite's reference to
     witnesses. Also, I would like Officer Gebo as a          Webster [*22] was "out of context" and continued to
     witness.                                                 maintain that "the dialogue reflected in the transcript
     ESGROW: Yeah, I know. What questions to you              does not indicate that the Hearing Officer ever was
     have for the hospital porters?                           made aware of a request by plaintiff for this person to
     CAIMITE: And also J. Webster.                            testify." See Dkt. No. 70 at 4, 6, n. 4.
     ESGROW: What questions do you have for the
     hospital porters?                                        The issue of whether Esgrow ignored Caimite's request
Dkt. No. 60-5 at 51-52.                                       for J. Webster to testify or whether Caimite's reference
                                                              to J. Webster was "confusing" and/or "seemingly out of
At that time, there was no further discussion related to J.   context" to Esgrow cannot be decided on a motion for
Webster. See id. Caimite was not given the opportunity        summary judgment as there are material questions of
to inform Esgrow what he hoped J. Webster's testimony         fact in dispute. The hearing was conducted over the
would reveal. Although Caimite and Esgrow discussed           course of approximately one month. See generally Dkt.
proposed questions for the hospital porters and inmates,
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No. 60-5. The transcript of the hearing, which is over            violation through a report or appeal, failed to
ninety pages in length, contains gaps for adjournments            remedy the wrong;
and interruptions when the recording was paused or                (3) the defendant created a policy or custom under
"turned off." See id. at 9, 11, 13, 26, 29, 34,35, 36, 37,        which unconstitutional practices occurred, or
41, 50, 51, 57, 58, 63, 64, 71, 78, 80, 87, 88. It is             allowed the continuance of such a policy or custom;
unclear what, if any conversations, occurred off the              (4) the defendant was grossly negligent in
record. The competing evidence rests on the credibility           supervising subordinates who committed the
of Caimite on the one hand and Esgrow on the other. In            wrongful acts; or
these circumstances, the governing law that the                   (5) the defendant exhibited deliberate indifference
evidence must be viewed in the light most favorable to            to the rights of inmates by failing to act on
the non-moving party directs the Court to credit                  information indicating that unconstitutional acts
Caimite's version of events for purposes of this motion.          were occurring.
See In re Dana Corp., 574 F.3d 129, 152 (2d. Cir. 2009)
(holding that a [*23] court faced with a motion for          Colon v. Coughlin, 58 F.3d 865, 873 (2d Cir. 1995)
summary judgment must draw all reasonable inferences         (citing Williams v. Smith, 781 F.2d 319, 323-24 (2d Cir.
in favor of the non-moving party and may not make            1986)).9 Assertions of personal involvement that are
credibility determinations or weigh the evidence,            merely speculative are insufficient to establish a triable
functions which are reserved to a jury and not a judge)      issue of fact. See, e.g., Brown v. Artus, 647 F. Supp. 2d
(citing cases).                                              190, 200 (N.D.N.Y. 2009).

Having thoroughly reviewed the hearing transcript and        "In general, the mere fact that a supervisory official
record, the Court finds that there are issues of fact        affirmed the result of a disciplinary hearing will not
related to Esgrow's actions and whether the disciplinary     suffice to establish that official's personal involvement in
hearing comported with the constitutional due process        an alleged constitutional [*25] violation, which is a
protections that must be afforded to an inmate's             prerequisite to liability under § 1983." Collins v.
disciplinary proceedings. Because the Court has not          Ferguson, 804 F. Supp.2d 134, 140 (W.D.N.Y. 2011).
been provided with any evidence related to Esgrow's          However, it is well-settled that a supervisor may be held
reasons for denying Caimite's request to call J. Webster     liable if he or she "proactively participated in reviewing
or "the tester" as a witness, the Court "cannot presume      the administrative appeals as opposed to merely rubber-
any valid reason, either related to personal safety,         stamping the results." Whitley v. Miller, 57 F.Supp.3d
irrelevance or waste of time." Thomas v. Calero, 824 F.      152, 161 (N.D.N.Y. 2014) (citation omitted). In Whitley,
Supp.2d 488, 502 (S.D.N.Y. 2011). Thus, it is                the Court held that a modification of the plaintiff's
recommended that defendants' motion be denied on this        sentence and a "typewritten form response" which
ground.                                                      stated that "there were not sufficient grounds to
                                                             reconsider the previous decision on that hearing," "do
                                                             not constitute sufficient evidence that either defendant
C. Personal Involvement                                      proactively participated in reviewing the merits of [the
                                                             plaintiff's] claim or had otherwise 'actively considered
Defendants argue that Rodriguez was not personally           the issues raised by [plaintiff] in reviewing and
involved in any constitutional violation. See Dkt. No. 60-
10 at 10-12; Dkt. No. 70 at 6-7. "[P]ersonal involvement
of defendants in alleged constitutional deprivations is a    9 Various  courts in the Second Circuit have postulated how, if
prerequisite to an award of damages under § 1983."           at all, the Iqbal decision has affected the five Colon factors
Wright v. Smith, 21 F.3d 496, 501 (2d Cir. 1994)             which were traditionally used to determine personal
(quoting [*24] Moffitt v. Town of Brookfield, 950 F.2d       involvement. Pearce v. Estate of Longo, 766 F.Supp.2d 367,
880, 885 (2d Cir. 1991)). Thus, supervisory officials may    376 (N.D.N.Y. 2011), rev'd in part on other grounds sub nom.,
not be held liable merely because they held a position of    Pearce v. Labella, 473 F. App'x 16 (2d Cir. 2012) (recognizing
authority. Id.; Black v. Coughlin, 76 F.3d 72, 74 (2d Cir.   that several district courts in the Second Circuit have debated
1996). However, supervisory personnel may be                 Iqbal's impact on the five Colon factors); Kleehammer v.
considered "personally involved" if:                         Monroe Cnty., 743 F.Supp.2d 175, 182 (W.D.N.Y.2010)
                                                             (holding that "[o]nly the first and part of the third Colon
     (1) [T]he defendant participated directly in the
                                                             categories pass Iqbal's muster . . . ."); D'Olimpio v. Crisafi, 718
     alleged constitutional violation;
                                                             F.Supp.2d 340, 347 (S.D.N.Y. 2010) (disagreeing that Iqbal
     (2) the defendant, after being informed of the
                                                             eliminated Colon's personal involvement standard).
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responding to [his] appeal[s]' to give rise to a question of   whether Rodriguez proactively participated in the
fact regarding either individual's personal involvement."      decision-making process as it relates to the initial
Id. at 162.                                                    affirmation and/or modification of the sentence, the
                                                               Court cannot conclude as a matter of law that Rodriguez
Caimite claims that Rodriguez violated his Fourteenth          was not personally involved in any constitutional
Amendment rights by denying his appeal and failed to           deprivation. In Thomas, the Court noted that "[w]e
remedy the alleged constitutional violations. See Dkt.         believe that, as a matter of pleading, [the Director's]
No. 66 at 9. Rodriguez argues that his involvement was         actions, by affirming [the hearing officer's] determination
limited   to   applying     the   Attorney    General's        with only a modification of the penalty, are sufficient to
recommendation and constituted no more than a "form            demonstrate personal involvement [*28] and could lead
response." Dkt. No. 70 at 6-7. Thus, Defendants argue          a trier of fact to impose liability under the second Colon
that Rodriguez had [*26] no more personal involvement          factor." Thomas, 824 F. Supp. 2d at 509. Thus, the
in the determination than the defendants in Whitley. Id.       Court finds that an issue of fact exists with respect to
at 7.                                                          Rodriguez's involvement in various stages of the
                                                               appellate process and his personal involvement in the
During his deposition, Caimite testified that Venettozzi,
                                                               alleged constitutional violations. See Celotex Corp., 477
the Director of Special Housing, designated Rodriguez
                                                               U.S. at 323. Accordingly, it is recommended that
to respond to Caimite's March 8, 2016 letter. See Dkt.
                                                               Defendants' motion be denied on this ground.
No. 60-3 at 96. Caimite further claims that, initially,
Rodriguez upheld Esgrow's determination. Id. at 91; Dkt.
No. 66 at 9. Caimite also contends that, on or around
                                                               D. Qualified Immunity
April 2016, Prisoner Legal Services filed a request for
"reconsideration" on Caimite's behalf, which resulted in       Defendants contend that, in the event that the Court
Rodriguez modifying the penalty. Dkt. No. 66 at 9, 22-         finds that Caimite has raised a genuine issue of material
24; Dkt. No. 60-3 at 91, 95-96.                                fact as to his due process claims, they are entitled to
                                                               qualified immunity. Dkt. No. 60-10 at 12-13; Dkt. No. 70
In support of the motion, Rodriguez submitted a
                                                               at 7-8. Qualified immunity generally protects
declaration and avers that, "[a]t some point after our
                                                               government officials from civil liability "insofar as their
office received plaintiff's appeal, we received a
                                                               conduct does not violate clearly established statutory or
recommendation from the NYS Attorney General's
                                                               constitutional rights of which a reasonable person would
Office to reverse the Tier III hearing outcome." Dkt. No.
                                                               have known." Harlow v. Fitzgerald, 457 U.S. 800, 818,
60-6 at ¶ 21. Rodriguez states that he had no
                                                               102 S. Ct. 2727, 73 L. Ed. 2d 396 (1982); Aiken v.
involvement in the Attorney General's decision and that
                                                               Nixon, 236 F.Supp.2d 211, 229-30 (N.D.N.Y. 2002)
his involvement was limited to applying the
                                                               (McAvoy, J.), aff'd 80 F. App'x 146 (2d Cir. 2003).
recommendation. Id. at ¶¶ 23-24. In support of the
                                                               However, even if the constitutional privileges "are so
motion, Defendants provided a copy of Rodriguez's
                                                               clearly defined that a reasonable public official would
June 2017 memorandum to Noeth reversing and
                                                               know that his actions might violate those rights, qualified
expunging Esgrow's determination, "based on a
                                                               . . . immunity might still be available . . . if it was
recommendation [*27] from the NYS Attorney General's
                                                               objectively reasonable for the public official to believe
Office." Dkt. No. 60-8 at 3-4.
                                                               that his acts did not violate those [*29] rights."
Notably absent from Rodriguez's declaration is any             Kaminsky v. Rosenblum, 929 F.2d 922, 925 (2d Cir.
reference to the initial decision to affirm Esgrow's           1991) (citing Magnotti v. Kuntz, 918 F.2d 364, 367 (2d
determination or the decision to modify the sentence.          Cir. 1990)) (additional citation omitted). A court must
Indeed, Rodriguez does not confirm or deny his                 first determine whether, if plaintiff's allegations are
involvement in either of those decisions, and                  accepted as true, there would be a constitutional
Defendants have not provided any other supporting              violation. Pearson v. Callahan, 555 U.S. 223, 232, 129
affidavit or documents to suggest that anyone other than       S. Ct. 808, 172 L. Ed. 2d 565 (2009). Only if there is a
Rodriguez proactively reviewed Caimite's appeals.              constitutional violation does a court proceed to
                                                               determine whether constitutional rights were clearly
Although the Court agrees that Rodriguez's application         established at the time of the alleged violation. Id. at
of the Attorney General's recommendation may not               236.
constitute personal involvement alone, the Court cannot
end the inquiry there. As a factual dispute exists as to       It is well-settled that during the relevant time period, the
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Fourteenth Amendment protected an inmate's right to             "constitutes exhaustion under the PLRA [*31] for
procedural due process and specifically, the right to call      purposes of rendering his due process claim ripe for
witnesses at his disciplinary hearing. Wolff v.                 adjudication in federal court." Davis v. Barrett, 576 F.3d
McDonnell, 418 U.S. 539, 555, 94 S. Ct. 2963, 41 L. Ed.         129, 132 (2d Cir. 2009). Additionally, "[c]ourts have held
2d 935 (1974). Here, Defendants have not submitted              that an Article 78 proceeding 'constitutes a wholly
competent evidence establishing that they "had an               adequate post-deprivation hearing for due process
objectively reasonable basis for believing their actions        purposes.'" Marrone v. Cassel, No. 16-CV-4733, 2018
did not violate this clearly established right." Joyner v.      U.S. Dist. LEXIS 149320, 2018 WL 4189518, at *6
Coughlin, No. 92 CIV. 7613, 1993 U.S. Dist. LEXIS               (S.D.N.Y. Aug. 31, 2018); Kimbrough v. Fischer, No.
3744, 1993 WL 97224, at *4 (S.D.N.Y. Mar. 26, 1993)             9:13-CV-0100 (FJS/TWD), 2014 U.S. Dist. LEXIS
(finding that the defendants did not demonstrate that           185284, 2014 WL 12684106, at *6 (N.D.N.Y. Sept. 29,
they may be entitled to qualified immunity on the               2014) (finding that the plaintiff properly exhausted his
plaintiff's Fourteenth Amendment claim based upon his           due process claim by pursuing an appeal of the
request to call witnesses). Thus, because a reasonable          disciplinary conviction and receiving a final decision).
jury could conceivably accept Caimite's claims,
Defendants are not entitled to qualified immunity in this       Caimite's challenge to Esgrow's conduct during the
case for the alleged Fourteenth Amendment violations.           disciplinary hearing is "properly the subject of an appeal
Accordingly, it is recommended that Defendants' motion          of the hearing[.]" Davis v. Barrett, 576 F.3d 129, 132 (2d
be denied on this ground.                                       Cir. 2009); see also Rivera v. Goord, 253 F. Supp.2d
                                                                735, 750 (S.D.N.Y. 2003) (concluding that the hearing
                                                                officer's conduct in a disciplinary hearing was properly
E. Exhaustion                                                   the subject of an appeal of the hearing); see also
                                                                Flanagan v. Maly, 99 CIV 12336, 2002 U.S. Dist. LEXIS
The PLRA requires that a prisoner [*30] exhaust any             1373, 2002 WL 122921, at *2 (S.D.N.Y. Jan. 29, 2002)
administrative remedies available to him or her before          ("When an inmate challenges the procedure at a
bringing an action for claims arising out of his or her         disciplinary hearing that resulted in punishment, he
incarceration. Porter v. Nussle, 534 U.S. 516, 524, 122         exhausts administrative remedies by presenting his
S. Ct. 983, 152 L. Ed. 2d 12 (2002); see also Woodford          objections in the administrative appeals process, not by
v. Ngo, 548 U.S. 81, 82, 126 S. Ct. 2378, 165 L. Ed. 2d         filing a separate grievance instead of or in addition to his
368 (2006). The exhaustion requirement applies "to all          ordinary appeal.").
inmate suits about prison life, whether they involve
general circumstances or particular episodes, and               It is undisputed that Caimite filed an appeal of the Tier
whether they allege excessive force or some other               III disciplinary determination and an Article 78
wrong." Porter, 534 U.S. at 532. Further, the exhaustion        proceeding. See Caimite v. Annucci, 155 A.D.3d 1171,
requirement applies even where the prisoner seeks               1172, 62 N.Y.S.3d 822 (N.Y. App. Div. 2017). However,
relief not available in the administrative grievance            Defendants argue that Caimite failed [*32] to exhaust
process, such as monetary damages. Id. at 524. To               his administrative remedies because Caimite failed to
exhaust administrative remedies, the inmate must                mention J. Webster in his appeal of the disciplinary
complete the full administrative review process set forth       determination. See Dkt. No. 60-10 at 8; Dkt. No. 70 at 3-
in the rules applicable to the correctional facility in which   4. In his appeal, Caimite argued, inter alia, that Esgrow
he or she is incarcerated. Jones v. Bock, 549 U.S. 199,         improperly denied his request to call several witnesses
218, 127 S. Ct. 910, 166 L. Ed. 2d 798 (2007) (internal         including Nesmith; all hospital porters; and inmates in
citation omitted).                                              cells B-1-15, B-1-6, B-1-7, B-1-8, and B-1-14. Dkt. No.
                                                                60-7 at 3-6. Caimite concedes that he did not write "J.
At all relevant times, DOCCS had in place a three-step          Webster's name along with the several witnesses
inmate grievance program. N.Y. Comp. Codes R. &                 Hearing Officer J. Esgrow refused to allow to testify
Regs. tit. 7, § 701.5. DOCCS also had a separate                without justification supported by institutional need," but
administrative appeal process for disciplinary hearings         argues that he properly preserved the issue on appeal
under 7 NYCRR § 254.8. For Tier III hearings, such as           because his request for J. Webster's testimony was
the hearing at issue in this case, an inmate must appeal        documented in the hearing transcript. See Dkt. No. 66 at
to the DOCCS Commissioner or his designee within                13. As discussed supra, a review of the hearing
thirty days of receipt of the disposition. Id. An inmate's      transcript reveals that on February 12, 2016, Caimite
appeal of a disciplinary hearing determination                  referenced J. Webster as a potential witness, and, at the
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conclusion of the hearing, Caimite objected to Esgrow's         Pursuant to 28 U.S.C. § 636(b)(1), parties may lodge
failure to call "the tester." Dkt. No. 60-5 at 52, 92.          written objections to the foregoing report. Such
                                                                objections shall be filed with the Clerk of the Court
Defendants' memoranda fail to cite any case law                 "within fourteen (14) days after being served with a copy
supporting the argument that Plaintiff must specifically        of the . . . recommendation." N.Y.N.D. L.R. 72.1(c)
raise all issues in a hearing appeal to preserve [*33] or       (citing 28 U.S.C. § 636(b)(1)(B)-(C)). FAILURE TO
exhaust his claims. Affording Plaintiff special solicitude      OBJECT TO THIS REPORT WITHIN FOURTEEN
as a pro se plaintiff, the Court finds that material issues     DAYS WILL PRECLUDE APPELLATE REVIEW.
of fact exist as to whether Defendants were on notice of        Roldan v. Racette, 984 F.2d 85, 89 (2d Cir. 1993);
Caimite's potential claims in subsequent litigation where,      Small v. Sec'y of HHS, 892 F.2d 15 (2d Cir. 1989); 28
as here, plaintiff appears to have raised the argument at       U.S.C. § 636(b)(1); Fed. R. Civ. P. 72, 6(a), 6(e).10
the hearing level and, at the appeals level, although not
identifying the specific witness, made other arguments          Dated: April 9, 2020
relating to the ability to call other witnesses. See Phillips
v. Lecuyer, No. 9:08-CV-878 (FJS/ATB), 2013 U.S. Dist.          Albany, New York
LEXIS 36452, 2013 WL 1024667, at *12 (N.D.N.Y. Feb.
                                                                /s/ Christian F. Hummel
19, 2013) ("[I]n order to exhaust a due process claim
with respect to a disciplinary hearing, [an inmate's]           Christian F. Hummel
administrative appeal must specify the alleged
misconduct of the hearing officer with sufficient               U.S. Magistrate Jugde
particularity to satisfy 'the purposes of the exhaustion
requirement of § 1997a(e), by giving the state an
opportunity to correct any errors and avoiding premature           End of Document
federal litigation.'") (collecting cases); but see Rosales v.
Bennett, 297 F. Supp.2d 637, 641 (W.D.N.Y. 2004)
(finding that the plaintiff exhausted his administrative
remedies because his appeal included explicit notice
that the inmate was objecting that the hearing officer
was not fair and impartial); see also Sweet v. Wende
Corr. Facility, 253 F. Supp.2d 492, 496 (W.D.N.Y. 2003)
(reasoning that because the plaintiff appealed directly
from the outcome of the disciplinary hearing, [*34] and
raised the issue of the insufficiency of the evidence on
appeal, he may have exhausted his administrative
remedies). Accordingly, it is recommended that
Defendants' motion for summary judgment, insofar as it
raises the affirmative defense of failure to exhaust, be
denied.


III. CONCLUSION

WHEREFORE, based on the findings set forth above, it
is hereby:

RECOMMENDED, that Defendants' motion for summary
judgment (Dkt. No. 60) be DENIED; and it is                     10 If
                                                                    you are proceeding pro se and are served with this Order
                                                                by mail, three additional days will be added to the fourteen-day
ORDERED, that copies of this Report-Recommendation
                                                                period, meaning that you have seventeen days from the date
and Order be served on the parties in accordance with           the Order was mailed to you to serve and file objections. Fed.
the Local Rules.                                                R. Civ. P. 6(d). If the last day of that prescribed period falls on
                                                                a Saturday, Sunday, or legal holiday, then the deadline is
IT IS SO ORDERED.                                               extended until the end of the next day that is not a Saturday,
                                                                Sunday, or legal holiday. Id. § 6(a)(1)(C).
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                                             Washington v. Piper
                          United States District Court for the Southern District of New York
                                 November 26, 2019, Decided; November 26, 2019, Filed
                                                  18 CV 7783 (NSR)

Reporter
2019 U.S. Dist. LEXIS 206338 *

KENNETH ERIC WASHINGTON, Plaintiff, -against-               For the purposes of this motion, all facts in Plaintiff's
C.O. L. PIPER; SHERIFF CARL E. DUBOIS,                      Complaint are taken as true and are construed in the
Defendants.                                                 light most [*2] favorable to pro se Plaintiff.

Counsel: [*1] Kenneth Eric Washington, Plaintiff, Pro       Pro se Plaintiff Kenneth Eric Washington ("Plaintiff") was
se, Goshen, NY.                                             housed at the Orange County Correctional Facility
For Carl E. DuBois, Piper L., Officer, Defendants: Karen    ("Jail") on March 5, 2018, and during the days that
D. Edelman-Reyes, New York County District Attorney's       followed, as a pre-trial detainee. On March 5, 2018, at
Office, New York, NY.                                       approximately 5:45 a.m. while in the "E-2 Dormitory" of
                                                            the facility, Plaintiff was subjected to the poking of his
Judges: NELSON S. ROMÁN, United State District              groin by C.O. Piper. Plaintiff subsequently filed a
Judge.                                                      grievance which was denied as meritless. Plaintiff seeks
                                                            to recover $750,000 in damages for mental anguish,
Opinion by: NELSON S. ROMÁN                                 and he requests that officers receive better training in
                                                            preventing sexual assault and managing cases of
Opinion                                                     alleged sexual assault.


OPINION & ORDER                                             STANDARD OF REVIEW

NELSON S. ROMÁN, United State District Judge
                                                            Rule 12(b)(6)
Pro se inmate Plaintiff Kenneth Eric Washington
("Plaintiff") commenced the instant action on August 23,
                                                            Rule 12(b)(6) provides in relevant part that a party may
2018 asserting 42 U.S.C. § 1983 ("Section 1983")
                                                            motion to dismiss a complaint for "failure to state a claim
claims against Defendants. (ECF No. 2). In his
                                                            upon which relief can be granted." Fed. R. Civ. P. 12.
Complaint, Plaintiff alleges Defendants violated his
                                                            "To survive a motion to dismiss, a complaint must
Eighth Amendment rights against cruel and unusual
                                                            contain sufficient factual matter, accepted as true, to
punishment. Plaintiff asserts direct claims against
                                                            'state a claim to relief that is plausible on its face.'"
Defendant Correction Officer L. Piper ("C.O. Piper") and
                                                            Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937,
supervisory liability claims against Defendant Sheriff
                                                            173 L. Ed. 2d 868 (2009) (quoting Bell Atlantic Corp. v.
DuBois ("DuBois"). As against DuBois, Plaintiff asserts
                                                            Twombly, 550 U.S. 544, 570, 127 S. Ct. 1955, 167 L.
he displayed gross indifference as a supervisor of the
                                                            Ed. 2d 929 (2007)). In evaluating the sufficiency of a
correctional facility during the time of the alleged
                                                            complaint, "[a] court 'can choose to begin by identifying
violation. Presently before the Court is Defendants'
                                                            pleadings that, because they are no more than
motion to dismiss the Complaint pursuant to Rule
                                                            conclusions, are not entitled to the assumption of truth.'"
12(b)(6) of the Federal Rules of Civil Procedure. ("Rule
                                                            Hayden v. Paterson, 594 F.3d 150, 161 (2d Cir. 2010)
12(b)(6)"). (ECF No. 19.) For the following reasons,
                                                            (quoting Iqbal, 556 U.S. at 679). [*3] "At the second
Defendants' motion is Granted.
                                                            step, a court should determine whether the 'well-
                                                            pleaded factual allegations,' assumed to be true,
                                                            'plausibly give rise to entitlement to relief.'" Hayden, 594
BACKGROUND
                                                            F.3d at 161 (citing Iqbal, 556 U.S. at 679); accord Harris
                                                            v. Mills, 572 F.3d 66, 72 (2d Cir. 2009).
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"A claim has facial plausibility when the plaintiff pleads      guaranteed by the U.S. Constitution." Castilla v. City of
factual content that allows the court to draw the               New York, No. 09-CV-5446(SHS), 2013 U.S. Dist.
reasonable inference that the defendant is liable for the       LEXIS 61633, 2013 WL 1803896, at *2 (S.D.N.Y. April
misconduct alleged." Iqbal, 556 U.S. at 678. "The               25, 2013); see Cornejo v. Bell, 592 F.3d 121, 127 (2d
plausibility standard is not akin to a probability              Cir. 2010). Therefore, a § 1983 claim has two essential
requirement, but it asks for more than a sheer possibility      elements: (1) the defendant acted under color of state
that a defendant has acted unlawfully." Id. (internal           law, and (2) as a result of the defendant's actions, the
quotations omitted). "Where a complaint pleads facts            plaintiff suffered a denial of his federal [*5] statutory
that are merely consistent with a defendant's liability, it     rights, or his constitutional rights or privileges. See
stops shorts of the line between possibility and                Annis v. County of Westchester, 136 F.3d 239, 245 (2d
plausibility of entitlement to relief." Id. (internal           Cir. 1998); Quinn v. Nassau Cty. Police Dep't, 53 F.
quotations omitted).                                            Supp. 2d 347, 354 (E.D.N.Y. 1999) (Section 1983
                                                                "furnishes a cause of action for the violation of federal
Although documents filed pro se are to be liberally             rights created by the Constitution.") (citation omitted).
construed, see Hill v. Curcione, 657 F.3d 116, 122 (2d
Cir. 2011), even pro se pleadings "must contain factual
allegations sufficient to raise a 'right to relief above the    DISCUSSION
speculative level.'" Dawkins v. Gonyea, 646 F. Supp.2d
594, 603 (S.D.N.Y. 2009), quoting Twombly, 550 U.S. at
555. A complaint that "tenders 'naked assertions' devoid        Personal Involvement
of 'further factual enhancement'" is insufficient. Iqbal,
556 U.S. at 678 quoting Twombly, 550 U.S. at 557.               Plaintiff fails to assert personal involvement on the part
Thus, while the Court is "'obligated to draw the most           of Defendant DuBois in this matter. In order to hold a
favorable inferences'" that the complaint supports, [*4] it     defendant responsible for a constitutional deprivation,
"'cannot invent factual allegations that [the plaintiff] has    Plaintiff must demonstrate, inter alia, the defendant's
not pled.'" Parris v. New York State Dep't Corr. Servs.,        personal involvement. Grullon v. City of New Haven,
947 F. Supp. 2d 354, 361 (S.D.N.Y. 2013) (quoting               720 F.3d 133, 138-39 (2d Cir. 2013). "[P]ersonal
Chavis v. Chappius, 618 F.3d 162, 170 (2d Cir. 2010).           involvement of Defendants in alleged constitutional
In other words, "the duty to liberally construe a plaintiff's   deprivations is a prerequisite to an award of damages
complaint is not the equivalent of a duty to re-write it for    under [42 U.S.C. § 1983.]" McKinnon v. Patterson, 568
him." Joyner v. Greiner, 195 F. Supp.2d 500, 503                F.2d 930, 934 (2d Cir. 1977)."The general doctrine of
(S.D.N.Y. 2002).                                                respondeat superior does not suffice and a showing of
                                                                some personal responsibility of the Defendant is
                                                                required." Al-Jundi v. Estate of Rockefeller, 885 F.2d
Section 1983                                                    1060 (2d Cir. 1989); Monell v. New York City Dept. of
                                                                Social Services, 436 U.S. 658, 692-95, 98 S. Ct. 2018,
Section 1983 provides that "[e]very person who, under           56 L. Ed. 2d 611 (1978). Supervisory officials may be
color of any statute, ordinance, regulation, custom, or         personally involved within the meaning of Section 1983
usage, of any State ... subjects, or causes to be               only if he or she participated in unlawful conduct. See
subjected, any citizen of the United States ... to the          Williams v. Smith, 781 F.2d 319, 323-24 (2d Cir. 1986).
deprivation of any rights, privileges, or immunities            "A Plaintiff must thus allege a tangible connection
secured by the Constitution and laws, shall be liable to        between the acts of a Defendant and the injuries
the party injured." 42 U.S.C. § 1983. Section 1983 "is          suffered." Bass v. Jackson, 790 F.2d 260, 263 (2d Cir.
not itself a source of substantive rights, but a method for     1986). "[A] Plaintiff must plead that each Government-
vindicating federal rights elsewhere conferred by those         official defendant, through the official's own individual
parts of the United States Constitution and federal             actions, has violated the Constitution." Ashcroft v. Iqbal,
statutes that it describes." Baker v. McCollan, 443 U.S.        556 U.S. 662, 676, 129 S. Ct. 1937, 173 L. Ed. 2d 868
137, 144 n.3, 99 S. Ct. 2689, 61 L. Ed. 2d 433 (1979);          (2009). In the context of a prisoner's lawsuit, a Plaintiff
see Patterson v. County of Oneida, 375 F.3d 206, 225            must show "more than [*6] the linkage in the prison
(2d Cir. 2004). To state a claim under § 1983, a plaintiff      chain of command" to state a claim against a
must allege "(1) the challenged conduct was attributable        supervisory defendant. Ayers v, Coughlin, 780 F.2d 205,
to a person who was acting under color of state law and         210 (2d Cir. 1985).
(2) the conduct deprived the plaintiff of a right
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Here, Plaintiff fails to allege facts of any personal           2476, 192 L. Ed. 2d 416 (2015).
involvement by Defendant DuBois. There is merely the
allegation of supervisory approval of the alleged Section       Under the objective standard,1 the sexual abuse must
1983 violation. Within this circuit, courts have held that      be "objectively, sufficiently serious" considering
the mere allegation of supervisory approval, without            "contemporary standards of decency, but "conditions
more, is insufficient to show any personal involvement.         that cannot be said to be cruel and unusual under
See Gomez v. Sepiol, 11-cv-1017 (SR), 2014 U.S. Dist.           contemporary standards are not unconstitutional."
LEXIS 53676, 2014 WL 1575872 at *6 (W.D.N.Y., Apr.              Boddie v. Schnieder, 105 F.3d 857, 861 (2d Cir. 1997)
11, 2014), (Court noting that merely rubber stamping the        quoting Rhodes v. Chapman, 452 U.S. 337, 347, 101 S.
results of a disciplinary hearing is insufficient to            Ct. 2392, 69 L. Ed. 2d 59 (1981); see also Crawford v.
establish personal involvement in a § 1983 claim);              Cuomo, 796 F.3d 252 (2d Cir. 2015). In Boddie, infra,
Rodriguez v. The City of New York, 644 F. Supp.2d 168,          though the Court held that certain allegations of sexual
199 (E.D.N.Y., 2008) (Complaint against several                 abuse may violate contemporary standards of decency
individual defendants dismissed where Court held that           and constitute a violation of the Eighth Amendment, it
the approval of an employment decision to terminate             noted that the alleged abuse must be "severe or
plaintiff in reliance on other individuals did not constitute   repetitive" to establish [*8] that the conduct complained
personal involvement for § 1983 purposes); Allah v.             of was objectively, sufficiently serious. See Boddie v.
Poole, 506 F.Supp.2d 174, 190 (W.D.N.Y., 2007)                  Schnieder, 105 F.3d at 861. The Boddie Court rejected
(dismissing complaint against defendant where sole              allegations of a small number of incidents in which the
allegation was that he, as a supervisor, approved the           defendant made inappropriate comments, touched
recommendation of another employee to transfer                  Plaintiffs genitals and pressed against Plaintiff without
plaintiff to a restrictive housing unit within a correctional   his consent, and the Court found this was not in
facility, holding that mere approval did not establish          violation of the Eighth Amendment. Id.
sufficient personal involvement).
                                                                Courts following Boddie, have noted that where the
For the aforementioned reasons, the claim against               allegation is "a single incident of sexual abuse" it must
Defendant DuBois is [*7] dismissed for lack of personal         be "sufficiently severe or serious," in order to objectively
involvement.                                                    violate the Eighth Amendment in that the act alleged
                                                                must demonstrate "intentional contact with an inmate's
                                                                genitalia ... which serves no penological purpose and is
8th Amendment                                                   undertaken with the intent to gratify the officer's sexual
                                                                desire or humiliate the inmate." Crawford, 796 F.3d at
The Eighth Amendment of the United States                       257-58 (finding objective prong satisfied where officer
Constitution prohibits cruel and unusual punishment             was alleged to have "fondl[ed] and squeeze[ed] [the
against a prisoner. Whitley v. Albers, 475 U.S. 312, 319,       inmate's] penis," "roamed" the inmate's thigh, to "make
106 S. Ct. 1078, 89 L. Ed. 2d 251 (1986). Sexual abuse          sure [he] did not have an erection"); see also Shannon
of a prisoner by a corrections officer may be the basis         v. Venettozzi, 670 Fed. Appx. 29, 31 (2d Cir. 2016)
for an 8th Amendment claim under § 1983. Boddie v.              (allegations that officer hit and fondled the inmate's
Schnieder, 105 F.3d 857, 859 (2d Cir. 1997). To                 genitals and rubbed his buttocks while stating that "[t]his
establish a violation of the Eighth Amendment, the              is my visiting room and I run it the way I want," on four
following two elements must be met: (1) The alleged             occasions sufficient for Eighth Amendment violation);
abuse must be "objectively, sufficiently serious"; and (2)      Shepherd v. Fischer, 08-cv-9297 (RA), 2018 U.S. Dist.
the prison official must have a "sufficiently culpable state    LEXIS 106682, 2018 WL 3122053 at *2 (S.D.N.Y. June
of mind." Farmer v. Brennan, 511 U.S. 825, 834, 114 S.          26, 2018) (inmate [*9] allegations that officer "rammed"
Ct. 1970, 128 L. Ed. 2d 811 (1994).                             a metal wand "between [his] ... butt cheeks," and stating
                                                                to inmate that he "should ... 'f' [Plaintiff] with it," sufficient
Even though Plaintiff does no specifically discern in his       for Eighth Amendment violation); cf. Shtilman v.
Complaint, he was a pre-trial detainee. (ECF No. 20).           Makram, 14-cv-6589 (NSR), 2018 U.S. Dist. LEXIS
Therefore, Plaintiff's allegations must sufficiently state a
claim against Defendant Piper under the Fourteenth
Amendment standard applicable to pretrial detainees.
                                                                1 An assessment of the objective standard remains pursuant to
See Darnell v. Pineiro, 849 F.3d 17, 35 (2d Cir. 2017)
                                                                the same standards as the Eighth Amendment proscribed
citing Kingsley v. Hendrickson, U.S., 135 S. Ct. 2466,
                                                                prior to Darnell v. Pineiro, 849 F.3d 17, 35 (2d Cir. 2017).
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132177, 2018 WL 3745670 at *5, (S.D.N.Y. Aug. 6,                place in the context of Plaintiffs status as a [*11] pretrial
2018) (officer alleged to have "nearly stuck their fingers      detainee. Crawford v. Cuomo, 796 F.3d at 257-58; see
... between [Plaintiffs] buttcheeks [sic]," not sufficient to   also Darnell v. Pineiro, 849 F.3d 17, 35 (2d Cir. 2017)
establish an Eighth Amendment claim).                           (Plaintiffs claims as pretrial detainee are "governed by
                                                                the Due Process Clause of the Fourteenth Amendment,
In the present matter, Plaintiff alleges that he was            rather than ... the Eighth Amendment"). As a pretrial
subjected to a single incident of a poke to "the groin          detainee, Plaintiff need only establish that his detention
(penis)." (ECF No. 2). Accepting Plaintiff's version of the     conditions were "'sufficiently serious to constitute
facts as true, these allegations fail to rise to the level of   objective deprivations of the right to due process' and
a constitutional violation to support a Section 1983            that the officer acted intentionally or with at least
claim. See Boddie, infra, Crawford, infra. Plaintiff also       deliberate indifference to the challenged conditions. "
failed to allege sufficient facts concerning the severity of    Noonan v. New York City Police Department Officer
the poke. The allegations fail to identify any physical         Carlos Becker, 14-cv-4084 (LTS) (JLC), 2017 U.S. Dist.
injury. The Complaint is simply devoid of any facts             LEXIS 135216, 2017 WL 3638201 at *4 (S.D.N.Y. Aug.
which would contextualize the poke to such a degree             23, 2017), quoting Darnell v. Pineiro, 849 F.3d at 29, 35.
that it would support a finding that it was an effort to
"arouse or gratify the officer or humiliate the inmate."        Under the subjective prong, the Plaintiff must allege that
Crawford v. Cuomo, 796 F.3d at 257-58.                          Defendant Piper's poke to the groin was "'sufficiently
                                                                serious to constitute objective deprivations of the right to
As noted by the court in Boddie, though the isolated            due process' and that the officer acted intentionally or
episodes of alleged touching may be unsavory, "they do          with at least deliberate indifference to the challenged
not involve a harm of federal constitutional proportions        conditions." Id. quoting Darnell v. Pineiro, 849 F.3d at
as defined by the Supreme [*10] Court." See Montero v.          29, 35. While "where no legitimate law enforcement or
Crusie, 153 F.Supp.2d 368, 373, 375 (S.D.N.Y. 2001)             penological purpose can be inferred from the
(allegation that correctional officer squeezed inmate's         defendant's alleged conduct, the abuse itself may, in
genitalia while pat-frisking him not sufficient to sustain      some circumstances be sufficient evidence of a culpable
an Eighth Amendment claim, especially where no                  state of mind," Boddie, supra, 861, "the principal inquiry
allegation of injury); Harry v. Suarez, 2012 U.S. Dist.         is whether the contact is incidental to legitimate official
LEXIS 79551, 2012 WL 2053533, at *3 (S.D.N.Y., June             duties, such as justifiable pat frisk or strip search, [*12]
4, 2012) (allegations that corrections officer groped           or by contrast whether it is undertaken to arouse or
plaintiff's genitals, buttocks, and inner thighs for up to 53   gratify the officer or humiliate the inmate." Crawford v.
seconds during frisk insufficient to sustain Eighth             Cuomo, supra, at 257-58; Shtilman v. Makram, 14-cv-
Amendment claim); Williams v. Keane, 1997 U.S. Dist.            6589 (NSR), 2018 U.S. Dist. LEXIS 132177, 2018 WL
LEXIS 12665, 1997 WL 527677, *9-11 (S.D.N.Y., Aug.              3745670 at *5, (S.D.N.Y. Aug. 6, 2018) (officer alleged
25, 1997) (dismissing the Eighth Amendment claim as             to have "nearly stuck their fingers ... between [Plaintiff's]
insufficient where defendant put his hand down plaintiff's      buttcheeks [sic]," not sufficient to establish an Eighth
pants and fondled plaintiff's testicles).                       Amendment claim).

Plaintiff's allegation of minimal contact by Defendant          Plaintiff's bare allegations of a poke to the groin while he
Piper is an example of a single incident which is not           was in inside of his housing unit fail to assert sufficient
"sufficiently severe or serious," and does not objectively      facts. The Plaintiff does not assert any injury to Plaintiff,
violate the Constitution. See Crawford v. Cuomo, 796            allegations of statement or comment by Defendant
F.3d 252, 257-58 (2d Cir. 2015) (finding objective prong        Piper, provide further description of the surrounding
satisfied where officer was alleged to have "fondl[ed]          circumstances, nor indicate whether he was awake or
and squeeze[ed] [the inmate's] penis," "roamed" the             asleep just prior to the incident. Plaintiff fails to allege
inmate's thigh, to "make sure [he] did not have an              sufficient objective facts of an act which is sufficiently
erection").                                                     severe and serious. Plaintiff also fails to allege facts of
                                                                Defendant Piper's culpable state of mind as required
While the subjective prong, requires an assessment of           under the Fourteenth Amendment. See Shepherd v.
"whether the contact is incidental to legitimate official       Fisher, 08-cv-9297 (RA), 2017 U.S. Dist. LEXIS 22772,
duties, such as justifiable pat frisk or strip search, or by    2017 WL 666213, at *18 (S.D.N.Y. Feb. 16, 2017)
contrast whether it is undertaken to arouse or gratify the      ("squeezing and fondling of Plaintiff's genitalia,
officer or humiliate the inmate," the analysis must take        combined with the accompanying threats of sexual
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violence or retaliation, would allow a reasonable                 should have known." Harlow v. Fitzgerald, 457 U.S. 800,
factfinder to find that the corrections officer ... intended      818, 102 S. Ct. 2727, 73 L. Ed. 2d 396 (1982).
to sexually gratify themselves, to humiliate [], or both.");      "Qualified immunity is available 'when the undisputed
see also Shannon v. Venettozzi, 670 Fed. Appx. at 31              facts establish that it was objectively reasonable for the
("[sexually-explicit] statements, [*13] in conjunction with       defendants to believe that their actions did not violate
... description of the forcefulness of the pat-downs were         clearly established rights.'" Dawkins v. Gonyea, 646
sufficient to plausibly allege that [the officer] conducted       F.Supp.2d 594, 613 (S.D.N.Y. 2009), quoting Defore v.
the pat-downs" to gratify himself or humiliate the                Premore, 86 F.3d 48, 50 (2d Cir. 1996). "A right is
inmate).                                                          clearly established if (1) the law is defined with
                                                                  reasonable clarity, (2) the Supreme Court or the Second
For the aforementioned reasons, Plaintiff's complaint             Circuit has recognized the right, and (3) a reasonable
fails to state a claim of an 8th Amendment violation.             defendant [would] have understood from the existing
                                                                  law that [his] conduct was unlawful." Johnson v. Goord,
                                                                  487 F. Supp. 2d 377, 398 (S.D.N.Y. 2007), aff'd 305
COMPENSATORY DAMAGES                                              Fed. Appx. 815 (2d Cir. 2009) (internal quotations and
                                                                  citations omitted). The Supreme Court has [*15] urged
Plaintiff seeks seven hundred fifty thousand dollars              courts to decide the issue of qualified immunity at the
($750,000.00) in damages for the alleged violations of            earliest possible opportunity. See Saucier v. Katz, 533
his constitutional rights. However, Plaintiff failed to           U.S. 194, 200, 121 S. Ct. 2151, 150 L. Ed. 2d 272
specifically denominate what type of injury he sustained.         (2001), overruled on other grounds, Pearson v.
Section 1997e(e) of the PLRA states that — "No                    Callahan, 555 U.S. 223, 129 S. Ct. 808, 172 L. Ed. 2d
Federal civil action may be brought by a prisoner                 565 (2009). "[T]he question to be answered is whether
confined in a jail, prison, or other correctional facility, for   the defendant officer, confronted with the facts as
mental or emotional injury suffered while in custody              alleged by the plaintiff, could reasonably have believed
without a prior showing of physical injury." Plaintiff does       that his actions did not violate some settled
not allege any physical injury resulting from the claimed         constitutional right." 5 Borough Pawn, LLC v. City of
deprivation of his constitutional rights — rather, he only        New York, 640 F.Supp.2d 268, 285 (S.D.N.Y. 2009);
alleges emotional harm. (ECF No. 2). For claims                   accord Dawkins, supra, at 613.
seeking damages for mental or emotional damages, a
defendant must "make a prior showing of physical                  The facts as alleged are insufficient to establish a
injury." Jenkins v. Haubert, 179 F.3d 19, 28 (2d Cir.             constitutional or statutory violation on the part of
1999). In this matter, Plaintiff failed to assert sufficient      Defendant Piper. It was objectively reasonable for a
facts to support a finding of a requisite harm of physical        correctional officer to believe that his actions were
injury.                                                           lawful, if true, under the circumstances. No facts were
                                                                  alleged as to the conduct by Defendant DuBois.
Separately, to the extent [*14] that plaintiff's claim for        Therefore, Defendants is entitled to qualified immunity,
damages includes punitive damages, such measure of                and the operative Complaint is dismissed against
damages is not warranted. Plaintiff has not alleged any           Defendants Piper under Rule 12(b)(6).
facts indicating that defendants' conduct was "motivated
by evil motive or intent" or that defendants exhibited
"reckless or callous indifference" to his federally               CONCLUSION
protected rights which is a pre-requisite to the imposition
of punitive damages. Lee v. Edwards, 101 F.3d 805,                For the aforementioned reasons, Defendants' motion to
808 (2d Cir. 1996) (quoting Smith v. Wade, 461 U.S. 30,           dismiss the Complaint is granted in its entirety. The
56, 103 S. Ct. 1625, 75 L. Ed. 2d 632 (1983)).                    Clerk of the Court is respectfully directed to terminate
                                                                  the motion at ECF No. 19, to close the case, to mail a
                                                                  copy of this Opinion and Order to Plaintiff's last known
QUALIFIED IMMUNITY                                                address and to show proof on the docket.

Qualified immunity protects government officials from             Dated: November 26, 2019
liability as long as their actions are discretionary in
                                                                  White Plains, New York
nature and do not violate clearly established statutory or
constitutional rights of which a reasonable person                SO ORDERED
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/s/ Nelson [*16] S. Román

NELSON S. ROMÁN


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